Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44839 Page 1 of 54




                                      IN THE UNITED STATES DISTRICT COURT
                                                DISTRICT OF UTAH

    CLEARPLAY, INC.                                                         **SEALED**
                                                                            MEMORANDUM DECISION AND ORDER
                                Plaintiff,                                  GRANTING DISH’S MOTION FOR
                                                                            JUDGMENT AS A MATTER OF LAW
    v.
                                                                            Case No. 2:14-cv-00191-DN-CMR
    DISH NETWORK L.L.C., and
    ECHOSTAR TECHNOLOGIES L.L.C.,                                           District Judge David Nuffer
                                                                            Magistrate Judge Cecilia M. Romero
                             Defendants.



   Contents
   I. OVERVIEW ........................................................................................................................... 1
   II.    LEGAL STANDARD ............................................................................................................. 2
   III. BACKGROUND .................................................................................................................... 4
   IV. CLEARPLAY’S CASE-IN-CHIEF PRESENTATION OF EVIDENCE ............................ 10
             A.         DISH’s AutoHop Operation ................................................................................. 11
             B.         The ’970 Patent ..................................................................................................... 13
                        1.        Trial evidence addressing the alleged navigation objects in DISH’s
                                  segment bookmark files ............................................................................ 14
                        2.        Trial evidence addressing the alleged disabling based on “No Thanks” on
                                  the AutoHop pop-up message ................................................................... 14
                        3.        Trial evidence addressing the alleged disabling based on fast-
                                  forward/rewind into commercials ............................................................. 17
             C.         The ’799 Patent ..................................................................................................... 19
                        1.        Trial evidence addressing the alleged filtering action in DISH’s
                                  announcement files ................................................................................... 19
                        2.        Trial evidence addressing the alleged configuration identifier in DISH’s
                                  announcement files ................................................................................... 20
   V.     ANALYSIS OF THE EVIDENCE ....................................................................................... 22
             A.         Background on “providing for disabling” limitation ............................................ 25
             B.         ClearPlay failed to show legally sufficient evidence of “providing for disabling
                        the alleged navigation object such that the filtering action of the disabled


                                                                        i
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44840 Page 2 of 54




              navigation object is ignored” as required by the Disabling Claims of the
              ’970 Patent ............................................................................................................ 28
              1.         The “No Thanks” pop-up message does not directly disable segment
                         bookmarks ................................................................................................. 31
              2.         Fast-forwarding or rewinding into commercials does not disable segment
                         bookmarks ................................................................................................. 35
         C.   ClearPlay failed to show legally sufficient evidence of the “plurality of navigation
              objects” required by claim 12 of the ’799 Patent .................................................. 39
              1.         DISH’s single-object “comparison” argument does not compel judgment
                         as a matter of law ...................................................................................... 40
              2.         DISH’s announcement file cannot satisfy the “plurality of navigation
                         objects” limitations in claim 12 of the ’799 Patent ................................... 40
         D.   ClearPlay failed to show legally sufficient evidence of the “plurality of navigation
              objects” required by Claim 12 of the ’799 Patent under the doctrine of equivalents
              ............................................................................................................................... 44
              1.         Dr. Feamster did not offer particularized testimony under either of the
                         function-way-result or the insubstantial difference tests .......................... 44
              2.         ClearPlay’s evidence for the “navigation object” limitation is legally
                         insufficient for infringement under the doctrine of equivalents ............... 50




                                                                  ii
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44841 Page 3 of 54




   I.     OVERVIEW

          This matter came before the court on the motion of Defendants DISH Network L.L.C. and

   DISH Technologies L.L.C. f/k/a EchoStar Technologies L.L.C. (collectively, “DISH”) for

   judgment as a matter of law (Dkt. 862) and related briefing filed by the parties. 1 DISH seeks

   judgment as a matter of law of noninfringement regarding Plaintiff ClearPlay, Inc.’s (“ClearPlay”)

   patents, U.S. Patent Nos. 7,577,970 (the “’970 Patent”) and 6,898,799 (the “’799 Patent”)

   (collectively, the “Asserted Patents”).2

          DISH filed its motion for judgment as a matter of law under Federal Rule of Civil

   Procedure 50(a).3 The court reserved ruling on DISH’s motion.4 The court subsequently ordered

   the parties to submit supplemental briefing. 5 The court now resolves this motion pursuant to Rule

   50(a) based on the evidence presented in ClearPlay’s case-in-chief. Nothing, however, turns on

   whether this motion is resolved under Rule 50(a) or if instead the supplemental briefing is treated

   as renewing the motion pursuant to Rule 50(b); the standard for granting judgment as a matter of

   law under Rule 50(b) is “precisely the same” as under Rule 50(a). 6


   1
     Dkts. 862, 883, 951, and 951-1. ClearPlay filed briefing in opposition to DISH’s motion for
   judgment as a matter of law (“JMOL”). Dkts. 863, 886, 946, 949, and 952.
   2
     Trial Exs. 1 and 4.
   3
     Dkt. 862.
   4
     Dkt. 901.
   5
     Tr. 1272:2-1273:21; Dkt. 916 (Order for Supplemental Briefing on Motion for Judgment as a
   Matter of Law).
   6
     9B Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure § 2537 (3d ed.
   1998); see, e.g., Stewart v. Adolph Coors Co., 217 F.3d 1285, 1288 (10th Cir. 2000). Additionally,
   some courts have viewed the distinction between 50(a) and 50(b) as a formality, so long as the
   motion for judgment as a matter of law was brought before the 28-day deadline after judgment.
   See, e.g., Finger v. County of Riverside, No. EDCV 15-01395 JGB (KKx), 2018 WL 6010356, *3



                                                   1
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44842 Page 4 of 54




          Having considered the parties’ filings and oral argument regarding the evidence presented

   in ClearPlay’s case-in-chief, for good cause appearing, and for the reasons discussed herein, the

   court concludes that ClearPlay’s claims for infringement, induced infringement, and willful

   infringement fail as a matter of law because the accused devices do not practice the methods of

   the asserted claims of the ’970 and ’799 Patents and do not literally, or under the doctrine of

   equivalents, infringe the asserted claims. The court therefore GRANTS DISH’s motion. 7

   II.    LEGAL STANDARD

          Judgment as a matter of law is appropriate when “a party has been fully heard on an issue

   during a jury trial, and the court finds that a reasonable jury would not have a legally sufficient

   evidentiary basis to find for the party on that issue[.]”8 Rule 50(a) allows the trial court to enter

   judgment as a matter of law when “the facts are sufficiently clear that the law requires a particular

   result.”9 “Judgment as a matter of law is cautiously and sparingly granted and then only when the



   (C.D. Cal. Jan. 10, 2018) (“[T]his Court has found[] cases in the Eleventh, Fourth, and Fifth
   Circuits to hold that a Rule 50(b) motion is unnecessary when the district court reserves ruling on
   a party’s Rule 50(a) motion.”) (citing Miller v. Kenworth of Dothan, Inc., 277 F.3d 1269, 1275 n.4
   (11th Cir. 2002) (“The Rule 50(b) motion was unnecessary because the district court had reserved
   ruling on [the defendant’s] Rule 50(a) motion until after the jury returned its verdict.”); First Safe
   Deposit Nat’l Bank v. W. Union Tel. Co., 337 F.2d 743, 746 (1st Cir. 1964) (“In the case at bar the
   court acted within six days of the verdict. Manifestly it could have asked the defendant to file an
   immediate Rule 50(b) motion, and have acted upon it. To say that it could not, instead, act on the
   reserved pre-verdict motion would be to insist upon form over substance.”) (footnote omitted);
   Nichols Constr. Corp. v. Cessna Aircraft Co., 808 F.2d 340, 354-56 (5th Cir. 1985) (“We conclude
   that, in the present circumstances, the rule of Johnson is inapplicable and that Cruse’s failure to
   file a motion for judgment n.o.v. did not prevent the district court from granting Cruse’s motion
   for directed verdict on which the decision had previously been reserved.”).
   7
     Dkt. 862, Dkt. 954.
   8
     Fed. R. Civ. P. 50(a)(1).
   9
     Weisgram v. Marley Co., 528 U.S. 440, 448 (2000) (quoting 9A C. Wright & A. Miller, Federal
   Practice and Procedure § 2521, p. 240 (2d ed. 1995)). The standard under Rule 50(b) is the same.
   See supra note 6.


                                                     2
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44843 Page 5 of 54




   court is certain the evidence conclusively favors one party such that reasonable jurors could not

   arrive at a contrary verdict.”10

           All reasonable inferences are to be drawn in favor of the nonmoving party, and this court

   does not make credibility determinations or weigh the evidence. 11 As ClearPlay stated in its

   supplemental brief,12 “the question is ‘whether a reasonable jury could find that [DISH] infringed

   the properly construed claims based on the evidence presented.’” 13 “Sufficient evidence can mean

   something less than the weight of evidence and consists of such relevant evidence as a reasonable

   mind might accept as adequate to support a conclusion, even if different conclusions also might

   be supported by the evidence.”14 “Even where DISH offered conflicting evidence, ‘the jury was

   free to disbelieve’ DISH’s evidence and credit ClearPlay’s evidence, including expert

   testimony.”15

           This is “a high hurdle to overcome” for a party moving for judgment as a matter of law. 16

   But when the hurdle is overcome, the court must ensure that judgment is not entered contrary to




   10
      Bill Barrett Corp. v. YMC Royalty Co., LP, 918 F.3d 760, 766 (10th Cir. 2019) (internal
   quotations omitted); see also Mformation Techs., Inc. v. Research in Motion Ltd., 764 F.3d 1392,
   1400 (Fed. Cir. 2014) (affirming “the district court’s grant of JMOL of no infringement”).
   11
      Bill Barrett, 918 F.3d at 766.
   12
      Dkt. 949 (ClearPlay’s supplemental brief in opposition to DISH’s motion for judgment as a
   matter of law).
   13
      Dkt. 949 at 2 (quoting Harris Corp. v. Ericsson Inc., 417 F.3d 1241, 1252 (Fed. Cir. 2005)).
   14
      Dkt. 949 at 2 (quoting in entirety Braun v. Medtronic Sofamor Danek, Inc., 141 F. Supp. 3d
   1177, 1187 (D. Utah 2015), aff’d, 719 F. App’x 782 (10th Cir. 2017)).
   15
      Dkt. 949 at 2 (quoting i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831, 850 (Fed. Cir. 2010),
   aff’d, 564 U.S. 91 (2011)).
   16
      Hampton v. Dillard Dep’t Stores, Inc., 247 F.3d 1091, 1099 (10th Cir. 2001).


                                                   3
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44844 Page 6 of 54




   law.17 The complex issues and extraordinary amount of briefing meant time was needed to be fully

   familiar with the case, settled in the law, and confident in granting a motion to enter judgment as

   a matter of law. The record that the court considered for this motion closed at the end of

   ClearPlay’s case-in-chief.

   III.   BACKGROUND

          1.      On March 13, 2014, ClearPlay filed a complaint asserting that the operation of

   AutoHop, “a commercial skipping feature” available on DISH’s Hopper 1, Hopper 2, and

   Hopper 3 set-top boxes, infringed several of its patents. 18 By the close of ClearPlay’s case-in-chief,

   the three claims remaining at issue were claim 12 of the ’799 Patent and claims 28 and 33 of the

   ’970 Patent (“Asserted Claims”), each of which requires “a plurality of navigation objects.” 19


   17
      See, e.g., Auraria Student Hous. at the Regency, LLC v. Campus Vill. Apartments, LLC, 843
   F.3d 1225, 1247 (10th Cir. 2016) (“Judgment as a matter of law is appropriate only if the evidence
   points but one way and is susceptible to no reasonable inferences which may support the
   nonmoving party’s position. This standard mirrors the summary judgment standard in that the trial
   judge must direct a verdict if, under the governing law, there can be but one reasonable conclusion
   as to the verdict.”) (emphasis added) (internal quotation marks & citations omitted); Henry v.
   Storey, 658 F.3d 1235, 1237-38 (10th Cir. 2011) (“JMOL is appropriate if, after a party has
   presented its evidence, the court ‘finds that a reasonable jury would not have a legally sufficient
   evidentiary basis to find for the party on that issue.’”) (quoting Fed.R.Civ.P. 50(a)(1)); see also
   Heuft Systemtechnik GMBH v. Indus. Dynamics Co., Ltd., 282 F. App’x 836, 838 (Fed. Cir. 2008)
   (“Judgment as a matter of law ‘is proper if the evidence, construed in the light most favorable to
   the nonmoving party, permits only one reasonable conclusion, and that conclusion is contrary to
   the jury’s verdict.’”) (quoting Pavao v. Pagay, 307 F.3d 915, 918 (9th Cir. 2002)).
   18
      Dkt. 2; Tr. (Minnick – Direct) 342:12-17 (discussing Trial Ex. 49 (2012 Minnick Declaration)
   ¶ 59); see also Feamster Demonstratives Slide 41 (citing Trial Ex. 32 at EchoStar_CP0000380-
   81) (“Scrubs is the internal code name for the STB function called ‘Time Saver’. The purpose of
   Time Saver [a prior name for AutoHop] is to automatically skip portions of the DVR event that
   are considered superfluous (example, commercials). . . . When the [set-top box] plays back the
   event in Time Saver mode it will play from event scene start to event scene end and jump to the
   next event scene start resulting in the unrelated material being skipped.”).
   19
      Trial Ex. 1 (’970 Patent) 23:36-40; Trial Ex. 4 (’799 Patent) 21:58-65. ClearPlay also initially
   asserted claim 37 of the ’970 Patent at trial but withdrew its infringement assertions as to that claim



                                                     4
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44845 Page 7 of 54




          2.      The parties agreed during claim construction that “navigation object” be given its

   “plain and ordinary meaning (as defined by the terms of the claims themselves).” 20 The Asserted

   Claims state that “each” navigation object “defin[es] a start position and a stop position and a

   specific filtering action to be performed on a portion of the multimedia content.” 21 This court

   construed “defines” (or “defining”) to mean “assign or specify [a start position, stop position, or

   filtering action],” and ClearPlay agreed to that construction.22

          3.      At summary judgment, the court explained that a navigation object is a single

   “object, file, or data structure” containing all required elements “within the navigation object.” 23

   That is consistent with the specification, which repeatedly describes and illustrates “all of a

   navigation object’s elements [as] being contained within the navigation object.” 24 The court

   rejected the notion that a navigation object could be merely “a formless assigning or specifying of

   associated or linked information from multiple sources”—what the court has referred to as the

   “multi-object approach”—because then “the navigation object ceases to be an object.”25 The

   multi-object approach would, for example, permit the same “programming item” to “be associated




   during the cross-examination of Dr. Feamster. Tr. (Williams) 733:18-19; compare Dkt. 924 at 10
   with id. at 27.
   20
       Dkt. 309 (Memorandum Decision and Order Regarding Claim Construction (“Claim
   Construction Order”)) at 5, 18.
   21
      Trial Ex. 1 (’970 Patent) 23:37-39; Trial Ex. 4 (’799 Patent) 21:60-65 (similar).
   22
      Dkt. 309 (Claim Construction Order) at 17-18.
   23
      Dkt. 653 at 10-11.
   24
      Id. at 13 (discussing, e.g., Trial Ex. 1 (’970 Patent) FIGs. 1-7); see also Trial Ex. 1 (’970 Patent)
   4:49-52, 4:62-67, 11:63-12:10, FIGs. 3A-3C, FIGs. 4A-4B, FIGs. 5A-B.
   25
      Dkt. 653 at 11.


                                                      5
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44846 Page 8 of 54




   with multiple start and stop times.”26 That would erase the boundaries between navigation objects

   in a way that renders the claims’ requirement of a “plurality of navigation objects” meaningless;

   taken to its logical end, this approach would mean that “a single navigation object would also be

   a plurality of navigation objects.” 27 The court explained that the Asserted Claims describe “each

   navigation object in the plurality [of navigation objects] as containing its own specific elements,”

   and therefore dismissed on summary judgment several of ClearPlay’s infringement theories that

   relied on the multi-object approach. 28

          4.      At trial, the court instructed the jury consistent with these claim construction and

   summary judgment rulings: “In all claims, the start, stop, and filter elements that comprise the

   navigation object must be contained within the same object, file, or data structure.” 29

          5.      At the time of trial, the parties also disputed limitations other than “navigation

   objects” specific to each Asserted Claim. At issue for the ’970 Patent were claims 28 and 33 (the

   “Disabling Claims”), which depend from independent claim 27:

                  In a computerized system for enabling a consumer to filter
          multimedia content that is comprised of video content, audio content, or
          both, and wherein a consumer computer system includes a processor, a
          memory, a decoder, and an output device for playing the multimedia
          content, a method for assisting the consumer to identify portions of the
          multimedia content that are to be filtered and to thereafter filter the
          identified portions, the method comprising:

                  accessing a plurality of navigation objects, each defining a start
                  position and a stop position and a specific filtering action to be
                  performed on a portion of the multimedia content;

   26
      Id. at 12 (citing Dkt. 454-1 (ClearPlay’s Appendix A Response to Additional Material Facts
   Alleged in Dish’s Argument) at 4.
   27
      Dkt. 653 at 12.
   28
      Id. at 11, 14-15.
   29
      Dkt. 924 at 42-43; see also Dkt. 653.


                                                    6
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44847 Page 9 of 54




                  providing for disabling of one or more of the navigation objects
                  such that the specific filtering action specified by the disabled
                  navigation object is ignored;
                  updating a position code in association with decoding the
                  multimedia content on the consumer computer system;
                  comparing the position code with the navigation objects to
                  determine whether the position code corresponding to the
                  multimedia content falls within the start and stop position defined
                  by one of the navigation objects;
                  activating the filtering action assigned to the corresponding
                  navigation object in order to filter the portion of the multimedia
                  content defined by the corresponding navigation object; and
                  playing the multimedia content at the output device excluding the
                  portion thereof which is filtered in accordance with the
                  corresponding navigation object and ignoring the filtering action
                  specified by any disabled navigation objects.30

          6.      At summary judgment, this court explained that it is “[c]lear from the ordinary and

   customary meaning and scope of the Disabling Claims, and supported by the specification’s

   language, [] that some action must be taken to disable a navigation object so that its filtering action

   is ignored.”31 The specification supports that ordinary meaning when it states that navigation

   objects “marked as disabled” would not be part of the eventual “filtering process.” 32 The court also

   explained that “disabling AutoHop functionality as a whole is broader than the Disabling Claims’

   limitations for disabling navigation objects” and cannot “be reasonably viewed as satisfying the

   Disabling Claims’ limitations.”33

          7.      At trial and consistent with earlier proceedings, this court instructed the jury that:


   30
      Trial Ex. 1 (’970 Patent) 23:29-58 (emphasis added).
   31
      Dkt. 653 at 23-24 (citing Trial Ex. 1 (’970 Patent) 18:64-19:4); see also Trial Ex. 1 (’970 Patent)
   23:41-43, FIG. 6.
   32
      Dkt. 653 at 23-24 (discussing and quoting ’970 Patent 18:64-19:4).
   33
      Dkt. 653 at 24.


                                                     7
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44848 Page 10 of 54




                    “providing for disabling of one or more of the navigation objects
                    such that the specific filtering action specified by the disabled
                    navigation object is ignored” means “providing for some action to
                    be taken to disable a navigation object so that its filtering action is
                    ignored.” An action must directly disable a navigation object so
                    that its filtering action is ignored, as opposed to disabling
                    something other than the navigation object that results in the
                    navigation object’s filtering action being ignored.34

             8.     Independent claim 12 of the ’799 Patent (the “Configuration Identifier Claim”)

   requires:

                    In a computerized system for enabling a consumer to digitally filter
             multimedia content that is comprised of video content, audio content, or
             both, and wherein a consumer computer system includes a processor, a
             memory, a decoder, and an output device for playing the multimedia
             content, a method for assisting the consumer to automatically identify
             portions of the multimedia content that are to be filtered and to thereafter
             automatically filter the identified portions, the method comprising the acts
             of:

                    creating an object store which can be loaded into a memory of the
                    consumer computer system, the object store including a plurality of
                    navigation objects, each of which defines a portion of the
                    multimedia content that is to be filtered by defining a start position
                    and a stop position and a specific filtering action to be performed
                    on the portion of the multimedia content defined by the start and
                    stop positions for that portion;
                    decoding the multimedia content on the consumer computer system
                    and as the multimedia content is output from a decoder of the
                    consumer computer system, continuously updating a position code;
                    as the multimedia content is decoding, continuously monitoring the
                    position code to determine whether the position code of the
                    multimedia content falls is within the star and stop positions defined
                    by one of the navigation objects;
                    when the position code is determined to fall within the star and stop
                    positions defined by a particular navigation object, activating the
                    filtering action assigned to the particular navigation object in order



   34
        Dkt. 924 at 43 (emphasis added).


                                                      8
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44849 Page 11 of 54




                  to filter the portion of the multimedia content defined by the
                  particular navigation object;
                  transferring the multimedia content to an output device, whereby the
                  multimedia content is played at the output device excluding each
                  portion thereof which is filtered in accordance with the plurality of
                  navigation objects;
                  assigning a configuration identifier to the decoder;
                  comparing the configuration identifier of the particular navigation
                  object with the configuration identifier of the decoder to determine
                  if the particular navigation object applies to the decoder; and
                  determining that the particular navigation object applies to the
                  decoder based on the configuration identifier of the particular
                  navigation object matching the configuration identifier of the
                  decoder.35

          9.      At claim construction, the parties agreed that “configuration identifier” is properly

   construed as an “identifier of the consumer system (including hardware and software) that is used

   to determine if the navigation objects apply to the particular consumer system. 36

          10.     At summary judgment, the court explained that “the elements that a navigation

   object ‘defines’ or ‘comprises’ are contained within the same object, file, or data structure (that

   being the navigation object)” and that “claim 12 of the ’799 Patent . . . require[s] the configuration

   identifier to be contained within the navigation object.” 37

          11.     At trial and consistent with previous proceedings, the court instructed the jury:

                  “configuration identifier” means “an identifier of the consumer
                  system (including hardware and software) that is used to determine
                  if the navigation objects apply to the particular consumer system.”




   35
      Trial Ex. 4 (’799 Patent) 21:49-22:25.
   36
      Dkt. 309 (Claim Construction Order) at 12-13.
   37
      Dkt. 653 at 10, 20-22.


                                                     9
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44850 Page 12 of 54




                  Claim 12 of the ’799 Patent requires the configuration identifier to
                  be contained within the navigation object. 38

   IV.    CLEARPLAY’S CASE-IN-CHIEF PRESENTATION OF EVIDENCE 39

          12.     ClearPlay’s expert on infringement, Dr. Nicholas Feamster, attempted to establish

   infringement by showing that DISH’s accused products contain and use navigation objects for

   playback of recorded programs, by “match[ing] the language in the claims to the implementation

   in the Dish source code.”40 Dr. Feamster testified “that to really understand if the software is

   meeting these claims, one has to read the code” and “match[] the language in the claims to the

   implementation in the Dish source code that satisfied these limitations specifically.” 41 Dr.

   Feamster also relied on the technical testimony regarding the code and operation of AutoHop




   38
      Dkt. 924 at 42-43; see also Dkt 653 at 21-22.
   39
      The following evidence has been cited in the Analysis of the Evidence section below to support
   this court’s order, as requested by the court in Dkt. 954 (requesting “a draft order based on this
   oral ruling which will necessarily contain support, footnotes, citations, and consistent rationale
   from its briefing; transcript references from DISH’s appendix to its last supplemental brief, which
   I relied on extensively in preparing this oral ruling, and should be reflected in the draft order”).
   40
      Tr. (Feamster – Direct) 534:11-20 (“We’re essentially looking at elements in the claim specific
   language we’ll dive into here and then we will go and look at how the -- how the AutoHop system
   functions and works, both how it is described in the technical documentation as well as what the
   source code is actually doing and we’ll match those up one to one.”) (emphasis added), 703:2-5
   (“I refer to them [the claim elements] specifically by the language in the claims, and then I matched
   the language in the claims to the implementation in the Dish source code that satisfied these
   limitations specifically.”) (emphasis added).
   41
      Tr. (Feamster – Redirect) 858:3-7; see also Tr. (Feamster – Direct) 530:24-531:1, 531:7-23, Tr.
   (Feamster – Cross) 702:23-703:10; Tr. (Feamster – Redirect) 828:3-4 (“asking [the jury] to trust
   my expert opinion because -- because I read the source code”). Dr. Feamster’s testimony that the
   DISH source code—rather than technical documents, marketing materials, and internal
   communications—is the relevant evidence for his infringement analysis was consistent with his
   earlier declaration that the source code is “ultimately the focus of our inquiry.” Dkt. 244, ¶¶ 15-
   16.


                                                    10
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44851 Page 13 of 54




   elicited during ClearPlay’s case-in-chief from DISH’s software engineers, Dan Minnick and Mark

   Templeman.42

          A.      DISH’s AutoHop Operation

          13.     The AutoHop feature provides for skipping over commercials during playback of

   certain shows, where the shows were previously recorded with DISH’s PrimeTime Anytime

   feature and playback by the user occurs one to seven days after the show initially aired.43

   Specifically, AutoHop works with shows that the user has recorded with DISH’s PrimeTime

   Anytime feature (but excluding some specific programming such as local news and regional

   sports), which enables a user to set a single DVR timer to record all primetime shows on the four

   major broadcast networks (ABC, CBS, FOX and NBC) and save them for up to eight days. 44

          14.     AutoHop is not automatically or always enabled. 45 When a user chooses to watch

   a show for which AutoHop is available, a message will pop-up asking whether the user would like

   to use AutoHop to skip commercials for this particular playback of the show. 46 The user can select

   either “Yes” or “No Thanks.”47




   42
      Tr. (Feamster – Direct) 530:18-531:6, 556:13-17, 602:2-603:21; Tr. (Feamster – Cross) 667:9-
   11, 707:5-7; Tr. (Feamster – Redirect) 854:14-16. ClearPlay presented no infringement evidence
   during its rebuttal case.
   43
      Tr. (Minnick – Direct) 342:12-17; Tr. (Minnick – Cross) 432:24-433:16, 434:23-435:1; Trial
   Ex. 33 (Scrubs Architecture) EchoStar_CP0000336-338.
   44
      Id.
   45
      Tr. (Minnick – Cross) 432:24-433:16 (explaining that AutoHop only works on PrimeTime
   Anytime shows), 435:13-22 (explaining that PrimeTime Anytime has to be enabled by a user),
   439:6-20 (explaining a user has to “select ‘yes’ to watch” a recorded show using AutoHop).
   46
      Tr. (Minnick – Cross) 439:6-20 (explaining a user has to “select ‘yes’ to watch” a recorded show
   using AutoHop); Dkt. 924-1 (Additional Jury Instruction).
   47
      Dkt. 924-1 (Additional Jury Instruction).


                                                   11
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44852 Page 14 of 54




                                               Figure 148
          15.     If the user does not select either option [“No Thanks” or “Yes”], the system will

   time out after a few minutes, and return to live TV.49

          16.     If a user presses “Yes” and thus chooses to use AutoHop for an AutoHop-enabled

   show, “the user can put the remote control down and watch the recorded show without the

   commercials.”50 At the end of each segment of a show, when a viewer would ordinarily see a

   commercial break, the recording will automatically skip ahead to the next segment of the show. 51

          17.     At a technical level, AutoHop works by way of a Show Metadata “announcement

   file” that is created at DISH’s uplink facility in Cheyenne, Wyoming by a technician watching the

   show and using a tool to mark the beginning and end of show segments within each PrimeTime

   Anytime-eligible show.52 Closed captioning and timing information for the show, for identifying


   48
      Feamster Demonstratives Slide 11 (citing Trial Ex. 49 at DISH_CP0027663).
   49
      Dkt. 924-1 (Additional Jury Instruction).
   50
       Tr. (Minnick – Direct) 345:7-11, 374:5-12, 378:24-379:4; Trial Ex. 49 (2012 Minnick
   Declaration) ¶¶ 60, 63.
   51
      Tr. (Minnick – Direct) 343:12-24; Trial Ex. 49, ¶¶ 60, 63.
   52
      Tr. (Minnick – Direct) 346:20-347:6, 347:16-21, 355:14-356:4, 361:21-365:10, 380:18-21; Tr.
   (Minnick – Cross) 425:10-427:9; Ex. 49 (2012 Minnick Declaration) ¶¶ 67-71, 74.


                                                   12
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44853 Page 15 of 54




   the start and end positions of each show segment, are stored in the announcement file, which is

   then sent via satellite to the Hopper set-top boxes.

          18.     The announcement file is used by AutoHop software on a Hopper set-top box, in

   conjunction with timing information in the particular PrimeTime Anytime show recording on the

   Hopper set-top box, to create a segment bookmark file.53 Each segment bookmark file contains

   segment bookmarks that identify the start and end times of each show segment for that recording

   and these segment bookmarks are used by the AutoHop software to play the show segments and

   skip the commercials.54

          19.     The AutoHop software, i.e., the source “code that executes” on the Hoppers, is

   separate and distinct from the announcement files and the segment bookmark files. 55

          B.      The ’970 Patent

          20.     Dr. Feamster testified that he had two theories regarding how DISH’s Hoppers

   disable navigation objects and practice the claimed methods:56 (1) based on a user selecting “No

   Thanks” on the AutoHop pop-up message to turn off AutoHop for a particular show; or (2) by a

   user fast-forwarding or rewinding into a commercial segment for a show in which the AutoHop

   feature is enabled.57


   53
      Tr. (Minnick – Direct) 356:05-358:4, 394:3-395:2; Ex. 49 (2012 Minnick Declaration) ¶ 74; Tr.
   (Templeman – Deposition Tr.) 27:3-27:18.
   54
      Tr. (Minnick – Direct) 362:3-8 (discussing Ex. 49 (2012 Minnick Declaration) ¶ 67), 369:5-10;
   Tr. (Minnick – Cross) 459:18-23; Tr. (Feamster – Direct) 560:22-561:10.
   55
      Tr. (Feamster – Recross) 864:16-865:5.
   56
      Tr. (Feamster – Cross) 811:17-18.
   57
      Tr. (Feamster – Direct) 612:4-14; Tr. (Feamster – Cross) 812:4-16. ClearPlay also presented
   multi-viewing and multi-device theories that rely on the two theories discussed by Dr. Feamster.
   See, e.g., Tr. (Feamster – Direct) 613:24-614:21 (multi-viewing and multi-device infringement
   theories); see also Tr. (Minnick – Redirect) 478:5-479:8; Dkt. 863 at 3.


                                                    13
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44854 Page 16 of 54




                  1.      Trial evidence addressing the alleged navigation objects in DISH’s
                          segment bookmark files

          21.     ClearPlay accused segment bookmark pairs as the “navigation objects” of the ’970

   Patent.58 Specifically, ClearPlay alleged that a pair of segment bookmarks within the segment

   bookmark file is a “navigation object,” with the first bookmarks’ segment end position time stamp

   (“PTS”) serving as the claimed “start position,” the second bookmarks’ segment start PTS serving

   as the claimed “stop position,” and the first bookmark’s SEGMENT_END flag serving as the

   claimed “filtering action.”59

          22.     As to both theories, ClearPlay and Dr. Feamster did not present evidence that the

   segment bookmarks themselves are directly disabled. 60 Instead, ClearPlay’s case and Dr.

   Feamster’s testimony was limited to argument and evidence that a user could “disable skipping”

   based on “check-in conditions” in the AutoHop software. 61

                  2.      Trial evidence addressing the alleged disabling based on “No Thanks”
                          on the AutoHop pop-up message

          23.     ClearPlay first argued that DISH’s accused products “provid[e] for disabling of one

   or more navigation objects” and then at playback “ignor[e] the filtering action specified by any




   58
      Tr. (Feamster – Direct) 606:11-19.
   59
      Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶¶ 6-9; Feamster Demonstrative Slide 49
   (citing Trial Ex. 37); Feamster Demonstratives Slide 28 (citing Trial Ex. 395 at DISH-CP-
   SC00197, Trial Ex. 33 at EchoStar_CP0000338).
   60
      Tr. (Feamster – Direct) 578:10-579:13 (discussing Feamster Demonstratives Slide 26 showing
   AutoHop code that uses “a data structure” that “contains a lot of variables controlling the state of
   playback”), 613:13-614:21; see also Feamster Demonstratives Slide 11 (citing Trial Ex. 49 at
   DISH_CP00[00281]), Slide 28 (citing Trial Ex. 395 at DISH-CP-SC00197).
   61
      Id.


                                                   14
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44855 Page 17 of 54




   disabled navigation objects”62 because when a user presses “No Thanks” in response to the enable

   AutoHop pop up, no commercials are skipped. 63

          24.      Dr. Feamster testified that a variable called “   ”(                      in Figure

   2) in the AutoHop software controls whether AutoHop commercial skipping is enabled and relied

   on the “     ” variable to meet the limitations in the Disabling Claims. 64

          25.      The “       ” variable is stored in the                   data structure, as shown

   below in Figure 2.65 The                      data structure is found only in the AutoHop software

   and not in the segment bookmarks.66 Dr. Feamster never offered any testimony or evidence that

   setting the “       ” variable disabled, marked, altered, or changed any particular segment

   bookmark.




   62
      Trial Ex. 1 (’970 Patent) 23:42-43, 23:54-58.
   63
      Tr. (Feamster – Direct) 613:14-23.
   64
      Tr. (Feamster – Direct) 616:17-617:19 (discussing “     ” variable setting to FALSE); Feamster
   Demonstratives Slide 57 (citing Trial Ex. 395 at DISH-CP-SC00236); Dkt. 924-1 (Additional Jury
   Instruction).
   65
      Tr. (Feamster – Direct) 578:23-579:13; Trial Ex. 395 at DISH-CP-SC00262-266.
   66
      Tr. (Feamster – Direct) 616:17-618:15 (discussing “     ” variable setting to FALSE); Feamster
   Demonstratives Slide 57 (citing Trial Ex. 395 at DISH-CP-SC00236); compare Trial Ex. 395 at
   DISH-CP-SC00262-266 (showing the variables within the                          data structure stored
   in the AutoHop software), with Trial Ex. 395 at DISH-CP-SC00197 (showing the variables within
   the             data structure stored in the                    ); Tr. (Feamster – Direct) 578:23-
   579:13.


                                                     15
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44856 Page 18 of 54




                                                Figure 267
          26.     Dr. Feamster testified that a user choosing “No Thanks” at the pop-up message

   causes the AutoHop software to set the “       ” variable to        , which “disable[s] the skipping

   over the commercial breaks for the playback of that show.” 68 He also testified that a user selecting

   “Yes” sets the “      ” variable to        , which “enabl[es AutoHop] skipping for that show.” 69



   67
      Feamster Demonstratives Slide 57 (citing Trial Ex. 395 at DISH-CP-SC00236).
   68
      See Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 1 (citing Tr. (Feamster – Direct) 610:17-
   621:4), Tr. (Feamster – Direct) 541:7-541:23, 617:16-618:6; Dkt. 924-1 (Additional Jury
   Instruction); infra Figure 1, Figure 2; see also Tr. (Minnick – Direct) 395:17-22 (discussing Trial
   Ex. 32-0002).
   69
      Dkt. 924-1 (Additional Jury Instruction); see infra Figure 1, Figure 2; see also Tr. (Minnick –
   Cross) 439:6-20 (the AutoHop pop-up message appears once when playing back a particular
   show); Tr. (Feamster – Direct) 578:23-579:13 (explaining the                         data structure
   “contains a lot of variables controlling the state of playback” for AutoHop); Ex. 395 at DISH-CP-
   SC00262-266 (showing the “          ” variable is stored within the                 data structure);
   Tr. (Feamster – Direct) 616:17-618:15 (explaining, using Figure 2, that the

            when shown the AutoHop pop-up message, and that the “      ” variable enables (or
   disables) AutoHop); Feamster Demonstratives Slide 57 (citing Trial Ex. 395 at DISH-CP-
   SC00236), Slide 55 (citing Trial Ex. 49 at EchoStar_CP0000281).


                                                    16
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44857 Page 19 of 54




           27.     Dr. Feamster testified that when AutoHop is turned off, the “pair of segment

   bookmarks” is ignored—as is every other pair of segment bookmarks. 70 Dr. Feamster testified that

   when AutoHop is turned off, all segment bookmarks and their identified filtering actions are not

   “activated” and therefore playback will not skip commercials. 71 Indeed, the parties do not dispute

   that, as Mr. Minnick testified, pressing “No Thanks” or “Yes” is an “all or none” approach. 72

                   3.         Trial evidence addressing the alleged disabling based on fast-
                              forward/rewind into commercials

           28.     ClearPlay also offered a fast-forward/rewind theory to argue that DISH’s products

   satisfy the Disabling Claims’ requirements. 73

           29.     To argue that navigation objects are disabled by fast-forwarding or rewinding, Dr.

   Feamster relied on portions of the AutoHop software that bypass or ignore the standard AutoHop

   playback operation when the playback is in “trick” mode, e.g., when a user “fast forwards over a

   segment end or, in other words, into a commercial break.” 74 Specifically, Dr. Feamster testified

   that a variable called “               ”(                              in Figure 3), which is located

   within the AutoHop software, controls whether “skipping would be disabled” and relied on the

   “              ” variable to address the limitations in the Disabling Claims. 75




   70
      Tr. (Feamster – Direct) 541:7-541:23, 616:17-618:15, 620:6-14.
   71
      Tr. (Feamster – Recross) 838:10-23.
   72
      Tr. (Minnick – Direct) 440:1-5; Tr. (Feamster – Direct) 541:7-541:23, 616:17-618:15.
   73
      Trial Ex. 1 (’970 Patent) 23:42-43, 23:54-58.
   74
      Tr. (Feamster – Direct) 612:7-11. Trick modes include “skip forward, skip back, and fast-
   forward, and rewind.” Tr. (Casagrande – Cross) 1117:4-8.
   75
      Tr. (Feamster – Direct) 618:16-620:17; Trial Ex. 395 at DISH-CP-SC-00304. Note that the
                  variable was transcribed as “             .” Tr. (Feamster) 619:10-11.


                                                     17
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44858 Page 20 of 54




                                                Figure 376
          30.     The “               ” variable is stored in the                    data structure, as

   shown in Figure 3 and, as noted above, the                       data structure is found only in the

   AutoHop software and not in the segment bookmarks. 77

          31.     As an indirect consequence of “trick” mode, the AutoHop software that uses a

   segment bookmark to skip a commercial, which would be run when the media is in standard

   playback mode, is ignored when the playback is fast forwarded or rewound into a commercial. 78

          32.     Dr. Feamster explained that            in Figure 3



                                                                                                    —

   and not in the segment bookmarks in the segment bookmark file. 79

          33.     Dr. Feamster never offered any testimony or evidence that setting the

   “             ” variable disabled, marked, altered, or changed any particular segment bookmark

   directly.80 Dr. Feamster, at most, testified generally that “skipping would be disabled” rather than



   76
      Feamster Demonstratives Slide 59 (Ex. 395 at DISH-CP-SC00304).
   77
      Tr. (Feamster – Direct) 578:23-579:13, 618:13-619:24; Trial Ex. 395 at DISH-CP-SC00262-
   266.
   78
      Tr. (Feamster – Direct) 618:16-619:24; see also Feamster Demonstratives Slide 59 (Ex. 395 at
   DISH-CP-SC00304); Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 2 (citing Tr. (Feamster
   – Direct) 610:17-621:4).
   79
      Tr. (Feamster – Direct) 618:16-620:17; Trial Ex. 395 at DISH-CP-SC-00304.
   80
      Id.


                                                   18
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44859 Page 21 of 54




   identifying any specific or direct action to disable the segment bookmark—the accused navigation

   object. ClearPlay presented no evidence that any segment bookmark file, nor the accused

   navigation object elements within the segment bookmark file (including the start PTS, the end

   PTS, or the SEGMENT_END flag in the DISH segment bookmark files) was ever marked, altered,

   changed, or deleted after the segment bookmark file is created.

          C.      The ’799 Patent

                  1.      Trial evidence addressing the alleged filtering action in DISH’s
                          announcement files

          34.     ClearPlay identified only DISH’s Show Metadata announcement files as containing

   navigation objects for claim 12 of the ’799 Patent. 81

          35.     Each announcement file includes only one package_type descriptor, which contains

   a value that identifies the type of announcement file.82 For the Show Metadata announcement files,

   the package_type descriptor contains a value of 0x08.83

          36.     Dr. Feamster testified that the single 0x08 value “specifies” the “filtering action,”

   within the literal meaning of that claim term, for each of the navigation objects contained within




   81
      Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 4 (citing Tr. (Feamster – Direct) 631:15-
   19); see also Tr. (Feamster – Direct) 652:16-25; Tr. (Feamster – Cross) 677:13-678:1; Dkt. 653 at
   2 (“Dish is entitled to summary judgment of noninfringement as a matter of law on ClearPlay’s
   literal infringement theories for the Configuration Identifier Claims, except for the theories that
   rely on the announcement file as the alleged navigation object.”), 22-23, 29.
   82
       Trial Ex. 31 at DISH_CP0027627; Tr. (Feamster – Direct) 663:17-664:24; Tr. (Feamster –
   Cross) 803:10-23, 804:3-804:13, 804:16-805:3.
   83
      Id.


                                                    19
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44860 Page 22 of 54




   the Show Metadata announcement files, i.e., that the single 0x08 value is a filtering action “shared”

   by the plurality of alleged navigation objects.84

           37.     Dr. Feamster also stated that if sharing the single 0x08 value between a plurality of

   purported navigation objects does not literally provide a “filtering action” for each navigation

   object, as claim 12 requires, it is “not substantially different” from the court’s construction

   requiring the filtering action, along with the start and stop positions, to “be contained within the

   same object, file, or data structure.”85

           38.     Dr. Feamster also testified that “repeating the 0x08 for every single navigation

   object in the file” would be an “inefficient and pretty bad way of writing the code.” 86

                   2.      Trial evidence addressing the alleged configuration identifier in
                           DISH’s announcement files

           39.     ClearPlay identified the model_targeting descriptor contained in the Show

   Metadata announcement files as the alleged configuration identifier. 87



   84
      Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 16 (citing Tr. (Feamster – Direct) 649:7-13,
   650:19-652:6); see also Tr. (Feamster – Direct) 646:24-9; Tr. (Feamster – Cross) 752:10-15,
   802:22-25, 803:10-23, 804:3-805:3, 809:21-810:3; DDX-6 (Demonstrative of Dr. Feamster’s
   Theory for Claim 12 of the ’799 Patent). Dr. Feamster also initially testified that the “position” of
   the end offsets in the Show Metadata announcement file specifies a skip filtering action, but
   subsequently disavowed any assertion that the offsets specify a skip filtering action by
   (1) admitting the end offset is only “used to generate the segment end bookmark” and “derive a
   start position” and (2) identifying only the “Show Metadata type field” as “specifying” the filtering
   action. Tr. (Feamster – Direct) 632:9-633:14, 639:7-14; Tr. (Feamster – Cross) 750:22-751:3,
   755:14-756:3, 795:24-796:8, 801:17-24; Feamster Demonstratives Slide 21; DDX-6
   (Demonstrative of Dr. Feamster’s Theory for Claim 12 of the ’799 Patent).
   85
      Tr. (Feamster – Direct) 649:7-13 (“It’s not substantially different”), 650:20-22 (similar); Dkt.
   924 at 42-43.
   86
      Tr. (Feamster – Direct) 651:3-652:6.
   87
      Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 14 (citing Tr. (Minnick – Direct) 339:18-
   22; Tr. (Minnick – Cross) 470:17-21; Trial Ex. 36-0001, -0002; Tr. (Feamster – Direct) 656:16-



                                                       20
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44861 Page 23 of 54




          40.        Each Show Metadata announcement file includes only one model_targeting

   descriptor.88

          41.        Dr. Feamster testified that the single model_targeting_descriptor is the

   configuration identifier, within the literal meaning of that term, for each of the navigation objects

   contained       within   the   Show    Metadata    announcement      files,   i.e.,   that   the   single

   model_targeting_descriptor is a configuration identifier “shared” by the plurality of alleged

   navigation objects.89

          42.        Dr. Feamster also stated that if sharing the single model_targeting_descriptor

   between a plurality of purported navigation objects does not literally provide a “configuration

   identifier” for each navigation object, as claim 12 requires, it is not substantially different from a

   “configuration identifier to be contained within the navigation object.” 90

          43.        However, Dr. Feamster also testified that (1) “it would be silly to check every pair

   of segment bookmarks” for the configuration identifier; (2) that doing so “would just be a

   ridiculous way to write your code”; and (3) that “it wouldn’t make any sense at all to repeat that




   659:2; Trial Ex. 31-0025); see also Tr. (Feamster – Direct) 662:15-663:12; Feamster
   Demonstrative Slide 96 (citing Trial Ex. 36 at 1-2).
   88
       Tr. (Feamster – Direct) 664:14-664:24 (“There’s only one model targeting descriptor.”); Tr
   (Feamster – Cross) at 750:23-751:12; DDX-6 (Demonstrative of Dr. Feamster’s Theory for Claim
   12 of the ’799 Patent).
   89
      Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 17 (citing Tr. (Feamster – Direct) 663:15-
   665:4, 745:7-20); see also Tr. (Feamster – Cross) 750:22-751:12, 801:17-24, 802:22-25, 804:3-
   805:3 (“that single element applies to each and every one of the navigation objects in this file. It
   is the same value for all of them”); DDX-6 (Demonstrative of Dr. Feamster’s Theory for Claim 12
   of the ’799 Patent).
   90
      Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 17 (citing Tr. (Feamster – Direct) 663:15-
   665:4, 745:7-20); Dkt. 924 at 43; see also Tr. (Feamster – Cross) 750:22-751:12.


                                                      21
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44862 Page 24 of 54




   [configuration identifier] value multiple times throughout the announcement file.” 91 Dr. Feamster

   further testified that “the better way to write [the code] is to check [configuration identifier] once”

   and that it “doesn’t make as much sense, in the context of the implementation and the

   announcement file, to repeat a value that has the same value over and over and over again -- to

   repeat it throughout the file.”92

   V.      ANALYSIS OF THE EVIDENCE

           ClearPlay presented evidence from DISH’s technical documents, advertising, and internal

   communications consisting of descriptions of AutoHop and its functionality. 93 This evidence,

   while helpful and appealing to the jury in terms they understand, is legally irrelevant to the actual

   operation and functionality of DISH’s accused products.94 The relevant evidence presented came



   91
      Tr. (Feamster – Direct) 663:15-664:24, 745:6-19.
   92
      Tr. (Feamster – Direct) 663:15-664:24, 747:6-21.
   93
      See, e.g., Tr. (Feamster – Direct) 542:19-543:1 (discussing Trial Ex. 44), 583:21-586:24
   (discussing Trial Ex. 33), 569:14-571:14 (discussing Trial Ex. 32), 592:1-594:2 (discussing Trial
   Ex. 40), 602:2-603:1 (discussing Trial Ex. 58), 603:24-606:19 (discussing Trial Ex. 37), 637:8-25
   (discussing Tr. 163), 660:6-18, 662:15-663:12 (discussing Trial Ex. 97); Feamster Demonstratives
   Slide 12 (citing Trial Ex. 44), Slides 23, 27-28 (citing Trial Ex. 33), Slide 24, 41 (citing Trial Ex.
   32), Slide 29 (citing Trial Ex. 40), Slide 35 (citing Trial Ex. 58), Slides 42, 44-49 (citing Trial Ex.
   37), Slides 54, 86, 89 (citing Trial Ex. 34), Slide 81 (citing Trial Ex. 163 and missing its page
   number), Slide 98 (citing Trial Ex. 97).
   94
      Other courts have recognized that software’s operation is critical to infringement analysis. See,
   e.g., Fantasy Sports Props, Inc. v. Sportsline.com, Inc., 287 F.3d 1108, 1119 (Fed. Cir. 2002)
   (remanding “the case for [the district court] to determine, using a direct infringement analysis,
   whether the software underlying that [accused] product supports” the claimed method) (emphasis
   added); Uni-Sys., LLC v. U.S. Tennis Ass’n, No. 17 CV 147 (KAM) (CLP), 2017 WL 4081904, at
   *6 (E.D.N.Y. Sept. 13, 2017) (“the source code is critical to an understanding of how defendants’
   system works”) (citing Fed. R. Civ. P. 26(b)(1)); cf. Hilgraeve Corp. v. McAfee Assocs., 70 F.
   Supp. 2d 738, 756 (E.D. Mich. 1999), aff’d in part, vacated in part, 224 F.3d 1349 (Fed. Cir. 2000)
   (finding, at summary judgment, that “marketing and promotional documents . . . do not disclose
   the accused product’s source code” or “provide technical details about the accused product’s
   operating steps” and therefore “do not give rise to the inference that the accused product infringes”



                                                     22
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44863 Page 25 of 54




   from ClearPlay’s expert, Dr. Feamster, who testified that DISH’s source code—rather than

   technical documents, marketing materials, and internal communications—is the dispositive

   relevant evidence for his infringement analysis. 95 Those descriptions of DISH’s technology in this

   evidence are high-level ways of discussing the results of AutoHop, i.e., that commercials are

   skipped. There are only so many ways of conveying the message that commercials are not played.

   This high-level evidence demonstrates the unremarkable and undisputed fact that AutoHop skips

   commercials.96 The evidence of similar terms in advertising or internal management documents




   the asserted patents because “the Court examines evidence concerning how the product actually
   operates.”).
   95
      Tr. (Feamster – Redirect) 858:3-7 (“The level of detail is such that to really understand if the
   software is meeting these claims, one has to read the code.”) (emphasis added). Dr. Feamster also
   testified, for instance, that to assess infringement he “matched the language in the claims to the
   implementation in the Dish source code that satisfied these limitations specifically.” Tr. (Feamster
   – Direct) 530:24-531:1; Tr. (Feamster – Cross) 702:23-703:10; see Dkt. 244, ¶¶ 15-16 (“Even a
   relatively good set of technical documents, of course, does not obviate the need to look at the code
   itself before preparing any sort of analysis or forming any opinions. … [T]he actual code may be
   different from what is described in the documentation … [and] is ultimately the focus of our
   inquiry.”) (emphasis added). He further explained that he “rel[ied] on the code” because “the true
   judge of what a piece of software does is the code. We look at the code to figure out what it does
   and when it does it. . . . [Technical documentation] is often extremely helpful for providing context
   for what we think that code is supposed to be doing but we don’t know what it’s actually doing
   unless we look at the code.” Tr. (Feamster – Direct) 531:7-23 (emphasis added); see also Tr.
   (Feamster – Direct) 534:11-20; Tr. (Feamster – Cross) 703:2-5; Tr. (Feamster – Redirect) 828:3-
   4 (“asking [the jury] to trust my expert opinion because -- because I read the source code”).
   96
      Tr. (DISH Opening Statement) 52:10-19 (“Now, let me own something right up front. Dish, to
   every user that we offer it to, and to the networks that complain about it, we skip commercials. We
   skip commercials. But this is a method claim, ladies and gentlemen, and their particular method in
   doing it, which identifies the thing to be skipped, the thing to be edited, is different than identifying
   the thing to be played.”); Tr. (Jarman – Cross) 201:25-202:2 (agreeing that he did not invent “all
   ways of skipping commercials”); Tr. (Minnick – Direct) 342:12-17 (agreeing “AutoHop is a
   commercial skipping feature”), 366:19-24 (“the software does the skip”).


                                                      23
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44864 Page 26 of 54




   and communications does not demonstrate what AutoHop code is actually doing and thus whether

   DISH’s accused products used ClearPlay’s patented methods. 97

          ClearPlay’s evidence demonstrating what DISH’s accused products are actually doing

   came from Dr. Feamster’s testimony and opinions about the AutoHop software, as well as the

   more technical testimony regarding the code and operation of AutoHop elicited during ClearPlay’s

   case-in-chief from Dan Minnick and Mark Templeman.98 The legal insufficiency of this evidence

   for establishing infringement is discussed below. Similar to the high-level discussions and

   illustrations mentioned above, the parties’ arguments and presentation of evidence necessarily

   included discussions of end-user experiences and analogies to common experiences such as

   turning lights on and off in a house.99 But none of these educational tools and techniques bear on

   the heart of the real issues. The parties’ evidence and arguments necessarily include some latitude

   to ensure that each party was able to try its case under its theories. Trial was the conclusive

   submission of the best effort of each party, both for the jury as trier of fact and for the judge as

   legal arbiter. This latitude arising from the natural development of a trial and counsel’s reticence




   97
      See supra notes 94-95.
   98
      Supra note 42 (citing Tr. (Feamster – Direct) 530:18-531:6, 556:13-17, 602:2-603:21; Tr.
   (Feamster – Cross) 667:9-11, 707:5-7; Tr. (Feamster – Redirect) 854:14-16); see also supra
   notes 43, 50-54; Tr. (Minnick – Direct) 342:12-17, 343:12-24, 345:7-11, 346:20-347:6, 347:16-
   21, 355:14-356:4, 356:05-358:4, 361:21-365:10, 362:3-8, 369:5-10, 374:5-12, 378:24-379:4,
   380:18-21, 394:3-395:2; Tr. (Minnick – Cross) 425:10-427:9, 432:24-433:16, 434:23-435:1,
   459:18-23; Trial Ex. 49 (2012 Minnick Declaration) ¶¶ 60, 63, 67-71, 74; Tr. (Templeman –
   Deposition Tr.) 27:3-27:18; Tr. (Feamster – Direct) 560:22-561:10. See generally Tr. (Minnick –
   Direct) 335:13-490:20; Tr. (Templeman – Video Deposition) 495:15-498:10.
   99
       Tr. (DISH JMOL Oral Arguments) 1778:17-1779:19; see also Tr. (ClearPlay Opening
   Statement) 36:16-37:17 (comparing the “disabling” limitations to “modern thermometers”); Tr.
   (Minnick – Direct) 370:11-373:20 (discussing a traffic light analogy), 481:17-484:10 (discussing
   a boat analogy).


                                                   24
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44865 Page 27 of 54




   to object and interrupt an adversary’s flow allowed the jury to hear matters beyond the centrally

   relevant evidence.

             Further, patent cases are necessarily complex, dealing with patent claims and technology

   outside the experience of the average person. In this case, the technical nature of the patents and

   the wide distance between the actual claims and the common-sense operation of a video recording

   and playing device presented unusual challenges for a jury and for a judge who was analyzing the

   record for legal sufficiency. It is not surprising that ClearPlay’s position in the case would broaden

   its patent claims beyond their scope. A patentee must exercise diligence in protecting and

   prosecuting claims. But this assertion of rights cannot be permitted to extend beyond the actual

   patent claims. The court is certain that it improperly submitted the issues of infringement to the

   jury by not granting DISH’s motion for judgment as a matter of law at the end of ClearPlay’s case.

   The court’s inability to intercede at an earlier time was due to the complexity of the case, its rapid

   development in trial, and the benefit of having a complete factual record on all issues developed

   at trial. Now, after the careful and complete record made at trial, the court has the knowledge and

   level of confidence necessary to make such a weighty decision.

             A.     Background on “providing for disabling” limitation

             This court’s instruction of the “providing for disabling” limitation is supported by the plain

   and ordinary meaning of the claim language itself. As noted, claims 28 and 33 both depend from

   claim 27, which recites a method “for assisting the consumer to identify portions of the multimedia

   content that are to be filtered and to thereafter filter the identified portions.”100

             27. In a computerized system for enabling a consumer to filter multimedia content that is
             comprised of video content, audio content, or both … a method for assisting the consumer

   100
         Trial Ex. 1 (’970 Patent) Claim 27, 23:29-58 (emphasis added).


                                                      25
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44866 Page 28 of 54




          to identify portions of the multimedia content that are to be filtered and to thereafter filter
          the identified portions, the method comprising:

                  accessing a plurality of navigation objects, each defining a start position and a stop
                  position and a specific filtering action to be performed on a portion of the
                  multimedia content;

                  providing for disabling of one or more of the navigation objects such that the
                  specific filtering action specified by the disabled navigation object is ignored;

                  ...

                  activating the filtering action assigned to the corresponding navigation object in
                  order to filter the portion of the multimedia content defined by the corresponding
                  navigation object; and

                  playing the multimedia content at the output device excluding the portion thereof
                  which is filtered in accordance with the corresponding navigation object and
                  ignoring the filtering action specified by any disabled navigation objects.101

   The method begins when the computerized system accesses navigation objects, and it ends when

   the system plays multimedia content in accordance with the navigation objects. In between, the

   claim requires several intermediate steps.102

          The first such step is “providing for disabling of one or more of the navigation objects.” 103

   Disabling a navigation object is a way to ensure “that the specific filtering action specified by the



   101
       Trial Ex. 1 (’970 Patent) Claim 27, 23:29-58 (emphasis added).
   102
       Id.; see generally Limelight Networks, Inc v. Akamai Techs., Inc., 572 U.S. 915, 921 (2014) (“A
   method patent claims a number of steps; under this Court’s case law, the patent is not infringed
   unless all the steps are carried out . . . [A] patentee’s rights extend only to the claimed combination
   of elements, and no further.”) (internal citations omitted); see Mformation, 764 F.3d at 1398-1400
   (affirming JMOL of noninfringement based on “an order-of-steps requirement” in method claim
   created by “the claim language, as a matter of logic and grammar” (quotation marks omitted)); see
   also, e.g., Amgen Inc. v. Sandoz Inc., 923 F.3d 1023, 1028-29 (Fed. Cir. 2019), reh’g granted,
   opinion modified on other grounds, 776 F. App’x 707 (Fed. Cir. 2019) (where method claim
   “logically requires a series of steps . . . be performed in sequence,” accused product that did not
   follow that sequence did not infringe as a matter of law).
   103
       Trial Ex. 1 (’970 Patent) 23:41.


                                                     26
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44867 Page 29 of 54




   disabled navigation object is ignored.”104 That ignoring, in turn, takes place at the final “playback”

   step, when the system “ignor[es] the filtering action specified by any disabled navigation

   objects.”105 “Disabling” and “ignoring” are thus two different actions that must be performed at

   two different steps. As the court explained at summary judgment, the specification “provides

   insight for how disabling a navigation object may occur” before “its filtering action is ignored.” 106

   The specification describes one way of disabling a navigation object by “including an indication

   within the navigation objects that they should not be part of the filtering process” during

   subsequent playback, such that they are “eliminated from being used in filtering multimedia

   content.”107 Though “a specification cannot create an additional limitation for the Disabling

   Claims,” the specification makes clear that the plain meaning of the Disabling Claims require some

   action to disable a navigation object.108

          Another intermediate step in claim 27’s method is “activating the filtering action” for at

   least one “navigation object in order to filter the portion of the multimedia content defined by the

   corresponding navigation object.”109 That filtering also does not take place until the final playback

   step: The system “exclud[es] the portion thereof which is filtered in accordance with the

   corresponding navigation object.”110 Simply put, the plain and ordinary meaning requires

   “activating the filtering action assigned to the corresponding navigation object in order to filter the



   104
       Trial Ex. 1 (’970 Patent) 23:42-43.
   105
       Trial Ex. 1 (’970 Patent) 23:56-58.
   106
       Dkt. 653 at 23-24.
   107
       Id. (quoting Trial Ex. 1 (’970 Patent) 18:64-19:4)
   108
       Dkt. 653.
   109
       Trial Ex. 1 (’970 Patent) 23:50-53.
   110
       Trial Ex. 1 (’970 Patent) 23:54-56.


                                                     27
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44868 Page 30 of 54




   portion of the multimedia content defined by the corresponding navigation object” and “playing

   the multimedia content at the output excluding the portion thereof which is filtered in accordance

   with the corresponding navigation object” while also “ignoring the filtering action specified by

   any disabled navigation objects” during playback. 111 In other words, when the system ultimately

   begins “playing the multimedia content,” it must both apply the filtering action specified by at

   least one navigation object and ignore the filtering action specified by any “disabled navigation

   objects.”

          As this court further explained at summary judgment, it is “[c]lear from the ordinary and

   customary meaning” of the Disabling Claims that “some action must be taken” at the “disabling”

   step to “disable a navigation object” specifically.112 And disabling the entire filtering system by

   “disabling AutoHop functionality as a whole is broader than the Disabling Claims’ limitations for

   disabling navigation objects.”113

          B.      ClearPlay failed to show legally sufficient evidence of “providing for
                  disabling the alleged navigation object such that the filtering action of the
                  disabled navigation object is ignored” as required by the Disabling Claims of
                  the ’970 Patent

          First, there is no evidence of direct infringement of the Asserted Claims of the ’970 Patent,

   sometimes referred to as the “Disabling Claims.” For the ’970 Patent claims, ClearPlay accused a

   pair of segment bookmarks as the navigation object.114 The issue for judgment as a matter of law



   111
       Trial Ex. 1 (’970 Patent) 23:50-58.
   112
       Dkt. 653 at 24.
   113
       Id.
   114
       Supra IV.B.1, ¶ 21 (citing Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶¶ 6-9; Feamster
   Demonstrative Slide 49 (citing Trial Ex. 37); Feamster Demonstratives Slide 28 (citing Trial Ex.
   395 at DISH-CP-SC00197, Trial Ex. 33 at EchoStar_CP0000338)).


                                                   28
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44869 Page 31 of 54




   regarding the ’970 Patent is not whether ClearPlay has presented legally sufficient evidence of a

   navigation object in DISH’s accused products. ClearPlay has presented evidence that DISH’s

   segment bookmarks contain the required elements of a navigation object for the ’970 Patent: a start

   position (the “pts” code of the segment end bookmark); a stop position (the “pts” code of the

   segment start bookmark); and a filtering action, albeit an implied filtering action (the “type” flag

   of the segment end bookmark). Rather, the issue for judgment as a matter of law in the ’970 Patent

   is whether ClearPlay presented legally sufficient evidence that DISH’s accused products meet the

   “providing for disabling” element of claim 27 of the ’970 Patent. 115 ClearPlay’s evidence

   demonstrates that DISH’s accused products do not literally infringe the claim element of

   “providing for disabling the alleged navigation object such that the filtering action of the disabled

   navigation object is ignored.”

          As explained above, the ordinary and customary meaning of this “providing for disabling”

   limitation requires providing for an action that “directly disable[s] a navigation object so that its

   filtering action is ignored, as opposed to disabling something other than navigation object that

   results in the navigation object’s filtering action being ignored.”116 In other words, the “action must


   115
       DISH also argued its accused products do not contain the claimed “navigation objects,” but the
   court is not granting judgment as a matter of law on that ground.
   116
       Dkt. 924 at 43. Contrary to ClearPlay’s suggestion, Dkt. 884 (ClearPlay’s Supplemental
   Briefing Regarding Disabling) at 9 n.30 (citing Loggerhead Tools, LLC v. Sears Holding Corp.,
   328 F. Supp. 3d 885, 899 (N.D. Ill. 2018)) and Dkt. 905, this court made clear as early as summary
   judgment that “disabling” and “ignoring” are two different actions. See Dkt. 653 at 24 (“Clear
   from the ordinary and customary meaning and scope of the Disabling Claims, and supported by
   the specification’s language, is that some action must be taken to disable a navigation object so
   that its filtering action is ignored.”). ClearPlay has thus been on notice since before trial that the
   “ordinary and customary meaning and scope of the Disabling Claims” requires both “disabling”
   and “ignoring,” and the court’s issuance of this express instruction during trial cannot have
   prejudiced ClearPlay. Cf. Pressure Prod. Med. Supplies, Inc. v. Greatbatch Ltd., 599 F.3d 1308,



                                                     29
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44870 Page 32 of 54




   directly disable” DISH’s segment bookmarks rather than acting on or disabling something else

   that indirectly affects the segment bookmark or simply results in the segment bookmarks being

   ignored.117 The plain meaning of the claims require evidence that a segment bookmark, itself, must

   be disabled, and it must be disabled in such a way that its filtering action is ignored. 118 This

   construction is consistent with the disabling examples within the ’970 Patent specification. 119

   Although these specification examples are not limiting and do not define the actual requirements

   of the claim element, they are helpful to understanding the claim element. 120 Specifically, under

   the ’970 Patent claims, terms and language, the navigation object itself must be disabled such that

   its filtering action is ignored.

           ClearPlay’s statement in its supplemental briefing “that the claims never require that any

   navigation objects be disabled” is contrary to the requirements of this claim element. 121 And

   ClearPlay’s statement in its supplemental briefing that the segment bookmarks “are directly

   disabled because the AutoHop software ignores the filtering action (skipping)” is the opposite of

   the requirements of this claim element.122 The “providing for disabling” limitation is not ignoring




   1315-16 (Fed. Cir. 2010) (concluding “that it was proper for the trial court to supplement” claim
   construction at trial). Additionally, while this court did not revise any claim constructions after the
   close of ClearPlay’s case-in-chief, the Federal Circuit recognizes that a district court may revisit
   claim construction, even during trial, “as its understanding of the technology evolves.” See, e.g.,
   id. at 1316; Pfizer, Inc. v. Teva Pharm., USA, Inc., 429 F.3d 1364, 1377 (Fed. Cir. 2005).
   117
       See Dkt. 924 at 43.
   118
       Dkt. 653 at 24.
   119
       Trial Ex. 1 (’970 Patent) 18:64-19:4, FIG. 6.
   120
       See, e.g., ScriptPro LLC v. Innovation Assocs., Inc., 833 F.3d 1336, 1339 (Fed. Cir. 2016) (“the
   specification does not limit the claimed invention”).
   121
       Dkt. 886 at 3.
   122
       Dkt. 949 at 16.


                                                     30
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44871 Page 33 of 54




   a navigation object’s filtering action so that the navigation object is disabled. It is disabling a

   navigation object such that its filtering action is ignored. 123 Construing the providing for disabling

   element as ClearPlay argues would be contrary to the ordinary and customary meaning of the claim

   language and would greatly and unreasonably broaden the claimed invention. ClearPlay failed to

   present legally sufficient evidence from which a reasonable jury could determine that some action

   is taken on one or more of DISH’s segment bookmarks (the alleged navigation objects) to disable

   them, as opposed to merely ignoring the entire segment bookmarks during playback conditions. 124

   In fact, the evidence confirmed that no action is taken on the segment bookmarks under either of

   ClearPlay’s two theories.

          ClearPlay argued at trial that DISH’s accused products perform all the claimed limitations

   in two different scenarios: (1) a “No Thanks” selection from the AutoHop pop-up message prior

   to playback, and (2) a fast-forwarding or rewinding into a commercial. 125 ClearPlay’s own

   evidence establishes that DISH’s accused products fail to directly disable the alleged navigation

   object, the segment bookmarks, as a matter of law.

                  1.      The “No Thanks” pop-up message does not directly disable segment
                          bookmarks

          First, ClearPlay presented no evidence that selecting “No Thanks” provides for disabling

   segment bookmark pairs—the asserted “navigation objects”—rather than disabling AutoHop as a



   123
       Trial Ex. 1 (’970 Patent) 23:41-43.
   124
       See, e.g., supra IV.B.1, ¶ 22 (citing Tr. (Feamster – Direct) 578:10-579:13, 613:13-614:21;
   Trial Ex. 395 at DISH-CP-SC00197; Feamster Demonstratives Slide 11 (citing Trial Ex. 49 at
   DISH_CP00[00281])).
   125
       Supra notes 56-57; see also Tr. (Feamster – Direct) 612:4-14; Tr. (Feamster – Cross) 811:17-
   18, 812:4-16. ClearPlay also presented multi-watch and a multi-viewing theories. However, these
   two theories fail for the same reasons. Infra note 137.


                                                     31
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44872 Page 34 of 54




   whole.126 The undisputed evidence presented by ClearPlay demonstrates that AutoHop is enabled

   for playback of a selected recording only by a “Yes” selection from the pop-up message prior to

   playback.127 If the user does not make a selection of “Yes” or “No Thanks” from the pop-up

   message, the system will time out after a few minutes, and return to live TV. 128 Dr. Feamster

   testified contrary to this at trial, but the parties agreed to the correct statement of the function of

   the AutoHop interface, and the jury was instructed to disregard any evidence or statements to the

   contrary.129

          The undisputed evidence based on the stipulation also demonstrates that when “No

   Thanks” is selected on the pop-up message prior to playback, AutoHop is not enabled for playback

   of the selected recording. This is outside the claim language that requires the navigation object to

   be disabled, as was pointed out in the Memorandum Decision and Order on DISH’s motion for

   summary judgment.130 Dr. Feamster testified that the “          ” variable is set to         by a “No

   Thanks” selection.131 But ClearPlay’s evidence establishes that the “              ” variable affects

   AutoHop as a whole—not the alleged navigation objects, i.e., the segment bookmarks. Therefore,

   a “No Thanks” selection at the pop-up message does not disable the segment bookmarks for



   126
       See supra IV.B.2, ¶ 26 (citing Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 1 (citing Tr.
   (Feamster – Direct) 610:17-621:4), Tr. (Feamster – Direct) 541:7-541:23, 617:16-618:6; Dkt. 924-
   1 (Additional Jury Instruction)); see also Feamster Demonstratives Slide 11 (citing Trial Ex. 49 at
   DISH_CP0027663) (displaying “Yes” or “No Thanks” options).
   127
       Supra IV.A, ¶ 14 (citing Tr. (Minnick – Cross) 432:24-16, 435:13-22, 439:6-20).
   128
       Dkt. 924-1 (Additional Jury Instruction).
   129
       Dkt. 924-1 (Additional Jury Instruction).
   130
       Dkt. 653 at 23-24.
   131
       See supra IV.B.2, ¶ 26 (citing Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 1; Tr.
   (Feamster – Direct) 541:7-541:23, 616:17-618:15; Dkt. 924-1 (Additional Jury Instruction); supra
   Figure 1, Figure 2; Tr. (Minnick – Direct) 395:17-22 (discussing Trial Ex. 32-0002)).


                                                     32
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44873 Page 35 of 54




   playback of the selected recording. Segment bookmarks are not disabled but are rather bypassed

   or ignored because the whole of AutoHop is not enabled. ClearPlay and Dr. Feamster pointed to

   no code, command, or other process that would directly disable the segment bookmarks, as

   opposed to AutoHop as a whole, such as a command having some iteration or combination of the

   “     ” variable leading to disabling of a segment bookmark such as the SEGMENT_END flag

   being set to        .132 There is no evidence of that.

          A user may rewatch the same media, or other media that may have AutoHop functionality,

   or may view media on a different output device, all of which are unaffected by the “No Thanks”

   selection for a selected recording playback.133 But this does not mean that a “No Thanks” selection

   is directly disabling segment bookmarks. The “No Thanks” selection only causes AutoHop as a

   whole for the selected playback session to not be enabled. There is no action directly disabling the




   132
       See supra IV.B.1, ¶ 22 (citing Tr. (Feamster – Direct) 578:10-579:13 (discussing Feamster
   Demonstratives Slide 26 showing AutoHop code that uses “a data structure” that “contains a lot
   of variables controlling the state of playback”), 613:13-614:21; see also Feamster Demonstratives
   Slide 11 (citing Trial Ex. 49 at DISH_CP00[00281]), Slide 28 (citing Trial Ex. 395 at DISH-CP-
   SC00197), ¶ 24 (citing Tr. (Feamster – Direct) 616:17-617:19 (discussing “         ” variable setting
   to FALSE); Feamster Demonstratives Slide 57 (citing Trial Ex. 395 at DISH-CP-SC00236)), ¶ 25
   (citing Tr. (Feamster – Direct) 616:17-618:15 (discussing “         ” variable setting to FALSE);
   Feamster Demonstratives Slide 57 (citing Trial Ex. 395 at DISH-CP-SC00236); compare Trial Ex.
   395 at DISH-CP-SC00262-266 (showing the variables within the                          data structure
   stored in the AutoHop software), with Trial Ex. 395 at DISH-CP-SC00197 (showing the variables
   within the             data structure stored in the                       ); Tr. (Feamster – Direct)
   578:23-579:13); supra IV.B.2, ¶ 29(citing Tr. (Feamster – Direct) 619:19-620:17; Trial Ex. 395 at
   DISH-CP-SC-00304), ¶ 30 (citing Tr. (Feamster – Direct) 578:23-579:13, 618:13-619:24; Trial
   Ex. 395 at DISH-CP-SC00262-266).
   133
       Supra note 57 (citing Tr. (Feamster – Direct) 613:24-614:21 (discussing ClearPlay’s multi-
   viewing and multi-device infringement theories); see also Tr. (Minnick – Redirect) 478:5-479:8;
   Dkt. 863 at 3).


                                                    33
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44874 Page 36 of 54




   segment bookmarks. There is only an action to not enable AutoHop—not to disable the segment

   bookmarks—that indirectly affects the use made, or not made, of segment bookmarks. 134

          Second, a “No Thanks” selection does not meet the claim element of “playing the

   multimedia content at the output device excluding the portion thereof which is filtered in

   accordance with the corresponding navigation object and ignoring the filtering action specified by

   any disabled navigation objects.”135 DISH’s system does not support both playing and ignoring,

   as required by the Disabling Claims.

          The “No Thanks” AutoHop selection is all or nothing, because the whole of AutoHop is

   thereby not enabled for the selected media playback. 136 Either all navigation object segment

   bookmarks are ignored and bypassed if “No Thanks” is selected or, if “Yes” is selected, all the

   alleged navigation objects are observed and implemented. There is no evidence that, during

   playback, DISH’s accused products are both filtering some media designated by navigation objects

   and ignoring the alleged filtering action specified by any allegedly disabled navigation objects

   when a user selects “No Thanks.” DISH’s system and accused products do not support both

   (a) excluding some media due to a navigation object’s filtering action and (b) ignoring other




   134
       Supra IV.B.1, ¶ 22 (citing Tr. (Feamster – Direct) 578:10-579:13 (discussing Feamster
   Demonstratives Slide 26 showing AutoHop code that uses “a data structure” that “contains a lot
   of variables controlling the state of playback”), 613:13-614:21; see also Feamster Demonstratives
   Slide 11 (citing Trial Ex. 49 at DISH_CP00[00281]), Slide 28 (citing Trial Ex. 395 at DISH-CP-
   SC00197)).
   135
       Trial Ex. 1 (’970 Patent) Claim 27, 23:54-58.
   136
       Supra IV.B.2, ¶ 27 (citing Tr. (Minnick – Direct) 440:1-5; Tr. (Feamster – Direct) 541:7-
   541:23, 616:17-618:15.).


                                                  34
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44875 Page 37 of 54




   disabled navigation objects’ filtering actions, as required by claim 27. Therefore, this infringement

   theory for the Disabling Claims fails.137

                  2.      Fast-forwarding or rewinding into commercials does not disable
                          segment bookmarks

          As to the fast-forwarding or rewinding into a commercial theory, ClearPlay’s evidence

   again demonstrates that no action is taken to directly disable the alleged navigation object, i.e., a

   pair of segment bookmarks. Fast-forwarding or rewinding into a commercial bypasses or ignores

   segment bookmarks, but this does not meet the claim language requiring disabling a navigation

   object such that the disabled navigation object’s filtering action is ignored. 138 Simply ignoring or

   bypassing a navigation object is different than disabling the navigation object such that the

   disabled navigation object’s filtering action is ignored.

          As described by Dr. Feamster, when a user fast-forwards or rewinds media during

   playback, the AutoHop software changes the playback state variable in the software, called the




   137
       ClearPlay and Dr. Feamster proposed other versions of this infringement argument, all of which
   fail for the same reasons described above. For instance, Dr. Feamster testified that “another user
   in the house [may be] watching the same show” at a different time, Tr. (Feamster – Direct) 614:7-
   8, which ClearPlay has argued satisfies every step of the claimed method, Dkt. 886 at 6. But in
   such circumstances, there is still no direct disabling of the accused navigation objects—the
   segment bookmarks—and therefore cannot satisfy the Disabling Claims’ limitation requiring
   “playing the multimedia content at the output device excluding the portion thereof which is filtered
   in accordance with the corresponding navigation object and ignoring the filtering action specified
   by any disabled navigation objects.” Likewise, ClearPlay has argued that the capability of DISH’s
   products to either turn on automatic skipping with AutoHop or leave it off demonstrates
   infringement, Dkt. 863 at 3, but that fails for the same reasons.
   138
       Trial Ex. 1 (’970 Patent) 23:41-43.


                                                    35
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44876 Page 38 of 54




   “             ,” which would otherwise be set to “                             ,” as shown in the

   following excerpt of AutoHop software in Figure 3. 139




                                               Figure 3140
   When a user presses a fast forward or rewind button, however, the playback is put into what was

   referred to as “trick” mode.141 As an indirect consequence of “trick” mode, the AutoHop software

   that uses a segment bookmark for skipping, which would be run when the media is in standard

   playback mode (i.e., when the “               ” variable holds a value of                       ), is

   ignored when the playback is fast-forwarded or rewound into a commercial. 142




   139
       Tr. (Feamster – Direct) 618:16-619:24 (“the playback state variable indicates is that the set-top
   box is in play mode. In other words, not fast forwarding and not rewinding [“trick” mode].”) To
   determine whether standard AutoHop commercial skipping is enabled, the AutoHop software
   checks the “                                                                      in Figure 3 to see
   whether the show is in “                       .” Tr. (Feamster – Direct) 619:10-619:14; see also
   Tr. (Feamster – Direct) 578:23-579:13, 616:17-618:15; Feamster Demonstratives Slide 57 (citing
   Trial Ex. 395 at DISH-CP-SC00236); Trial Ex. 395 at DISH-CP-SC00262-266. When that variable
   is set to                      , as in Figure 3 above, and the other conditions are also satisfied,
   AutoHop skips commercials.
   140
       Feamster Demonstratives Slide 59 (Ex. 395 at DISH-CP-SC00304).
   141
       Supra IV.B.3, ¶ 31 (citing Tr. (Feamster – Direct) 618:16-619:24 (explaining that the
                                                                           , and instead “this variable
   would take on a different value,” and “skipping would be disabled.”)); see also Tr. (Feamster –
   Direct) 620:6-14; Ex. 395 at DISH-CP-SC-00304. Trick modes include “skip forward, skip back,
   and fast-forward, and rewind.” Tr. (Casagrande – Cross) 1117:4-8).
   142
       Supra IV.B.3, ¶ 31 (citing Tr. (Feamster – Direct) 618:16-619:24; Feamster Demonstratives
   Slide 59 (Ex. 395 at DISH-CP-SC00304); Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 2
   (citing Tr. (Feamster – Direct) 610:17-621:4))).


                                                    36
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44877 Page 39 of 54




             There is no evidence that pressing the fast-forward or rewind button disables a segment

   bookmark. The AutoHop software checks whether “the set-top box is in play mode” by looking at

   a variable stored in the AutoHop software—and not in the segment bookmarks within the segment

   bookmark file.143 In other words, the AutoHop software merely verifies the set-top box mode—

   whether “it’s playing” and is “not fast forwarding and not rewinding” based on a variable in the

   AutoHop software.144 And Dr. Feamster agreed that the AutoHop software, i.e., the source “code

   that executes” on the Hoppers, is separate and distinct from the announcement files and the

   segment bookmark files.145 Critically, no change is made to disable the segment bookmarks, nor

   does Dr. Feamster identify anything other than ignoring the skip action that would have resulted.

   Indeed, as Mr. Minnick demonstrated, the AutoHop software used certain segment bookmarks

   during normal playback to AutoHop over a commercial, 146 the same segment bookmarks were

   ignored as he put playback into rewind, resumed play, and “when it hit the break, it did the

   AutoHop again.”147 This evidences that the segment bookmark has not changed or been disabled

   at all.

             ClearPlay and Dr. Feamster pointed to no code or other process that disables a segment

   bookmark (the accused navigation object) itself as required by the “providing for disabling”




   143
       Supra IV.B.3, ¶ 32 (citing Tr. (Feamster – Direct) 618:16-620:17; Trial Ex. 395 at DISH-CP-
   SC-00304).
   144
       Tr. (Feamster – Direct) 619:13-14.
   145
       Supra IV.A, ¶ 19 (citing (Feamster – Recross) 864:16-865:5).
   146
       Tr. (Minnick – Cross) 443:16-19 (“you can see it just did an AutoHop”).
   147
       Tr. (Minnick – Cross) 443:20-443:23.


                                                   37
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44878 Page 40 of 54




   limitation.148 ClearPlay and Dr. Feamster pointed only to code that bypasses or ignores the

   standard playback software, which thereby indirectly affects the use made of segment bookmarks

   when the media is fast-forwarded or rewound into a commercial. 149 Fast-forwarding and rewinding

   also occur too late to satisfy claim 27’s “providing for disabling” limitation. The plain and ordinary

   meaning requires that step of the claimed method to occur, such that when the system “play[s] the

   multimedia content,” it “ignor[es] the filtering action specified by” any navigation objects that

   have already been “disabled” by the prior step.150 Fast-forwarding and rewinding, however, do

   not occur until after the system is already playing the multimedia content. 151

          Therefore, ClearPlay failed to present legally sufficient evidence that DISH’s accused

   products literally infringed the ’970 Patent. Further, no evidence was offered of a doctrine of

   equivalents infringement theory for the asserted claims of the ’970 Patent. 152




   148
       Trial Ex. 1 (’970 Patent) 18:64-19:4; Tr. (Feamster – Direct) 615:7-620:14; see also Dkt. 883
   at 8-10; see supra IV.B.2, ¶ 27 (citing Tr. (Feamster – Direct) 620:6-14; Tr. (Feamster – Recross)
   838:10-23.
   149
       Supra IV.B.3, ¶¶ 29-32 (citing Tr. (Feamster – Direct) 578:23-579:13, 618:16-620:17; Trial
   Ex. 395 at DISH-CP-SC00262-266, -00304).
   150
       Trial Ex. 1 (’970 Patent) 23:54-58; see supra IV.B.3, ¶ 29 (citing Tr. (Feamster – Direct) 612:7-
   11, 618:16-620:17; Trial Ex. 395 at DISH-CP-SC-00304).
   151
       Tr. (Feamster – Direct) 611:21-612:14.
   152
       Tr. (Williams) 1529:23-1530:2; compare also Dkt. 909 at 26-28 with id. at 32-34 (showing
   ClearPlay dropped assertions of infringement of the Disabling Claims under the doctrine of
   equivalents).


                                                    38
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44879 Page 41 of 54




           C.      ClearPlay failed to show legally sufficient evidence of the “plurality of
                   navigation objects” required by claim 12 of the ’799 Patent

           As to the ’799 Patent, ClearPlay presented no evidence of literal infringement of claim 12

   of the ’799 Patent, which was often referred to as the “Configuration Identifier Patent.” 153 The

   issue for judgment as a matter of law regarding literal infringement of claim 12 of the ’799 Patent

   is whether ClearPlay presented legally sufficient evidence of a navigation object. 154

           Under the court’s claim construction, the claim requires that each navigation object must

   contain a start position, stop position, filtering action, and configuration identifier, as explained at

   length in the Order regarding DISH’s motion for summary judgment and in the standards in the

   jury instructions.155



   153
       See supra IV.C, ¶ 37 (citing Tr. (Feamster – Direct) 649:7-13 (“It’s not substantially different”),
   650:20-22 (similar); Dkt. 924 at 42-43), ¶ 41 (citing Dkt. 912 (ClearPlay’s Proposed Findings of
   Fact) ¶ 17 (citing Tr. (Feamster – Direct) 663:15-665:4, 745:7-20); see also Tr. (Feamster – Cross)
   750:22-751:12, 801:17-24, 802:22-25, 804:3-805:3 (“that single element applies to each and every
   one of the navigation objects in this file. It is the same value for all of them”); DDX-6
   (Demonstrative of Dr. Feamster’s Theory for Claim 12 of the ’799 Patent)).
   154
       DISH also argued its accused products do not contain the claimed “configuration identifier,”
   which this court construed as “an identifier of the consumer system (including hardware and
   software) that is used to determine if the navigation objects apply to the particular consumer
   system.
   155
       Dkt. 653 at 10-15 (“It is clear from the Asserted Patents’ language, as properly construed and
   consistent with this court’s claim construction, that the single-object approach to navigation object
   is the only reasonable approach to navigation object. The multi-object approach is precluded by
   this court’s claim construction and the ordinary and customary meaning of the Asserted Patents.”),
   21-23 (“The Configuration Identifier Claims require that the alleged configuration identifier must
   be contained within the alleged navigation object.”) (addressing Dkt. 409 (DISH’s Motion for
   Summary Judgment)); Dkt. 924 at 42-43; see also, e.g., Ex. 4 (’799 Patent) FIGs. 3A-3C, 4A, 5A;
   Tr. (Jarman – Cross) 281:10-13 (“the navigation object includes the configuration identifier”); Tr.
   (Feamster – Cross) Tr. 744:24-745:5 (agreeing that claim 12 of the ’799 Patent requires “that the
   navigation object not only contains start, stop, and filtering action, but also a configuration
   identifier”). Dr. Feamster disagreed with this court’s construction for “navigation object” and
   asserted that each navigation object need not contain its own filtering action or its own



                                                     39
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44880 Page 42 of 54




                  1.      DISH’s single-object “comparison” argument does not compel
                          judgment as a matter of law

          DISH argued that ClearPlay was presenting a multi-object “derived theory” that the

   segment bookmarks, derived from the announcement file, are used to determine whether the

   position code is at a start and stop position defined by an accused navigation object in the

   announcement file. DISH argues this violates the single-object construction by reading into

   claim 12 of the ’799 Patent a limitation that requires comparison of the position code to the

   navigation object. Because the announcement file does not exist at the time of playback, DISH

   says that limitation cannot occur in the DISH system. However, DISH’s reading and the

   comparison limitation is not consistent with the claim language of claim 12 of the ’799 Patent.

   Unlike the claim language of other ClearPlay patents, such as claim 16 of the ’970 Patent, claim

   12 of the ’799 Patent does not require the navigation objects to exist at the time of monitoring or

   comparison of the stop and start positions with the running position code. This non-issue is

   therefore ignored as contrary to the patent language. 156

                  2.      DISH’s announcement file cannot satisfy the “plurality of navigation
                          objects” limitations in claim 12 of the ’799 Patent

          Judgment as a matter of law is granted on claim 12 of the ’799 Patent because ClearPlay’s

   infringement theories require the alleged plurality of navigation objects to share a single filtering




   configuration identifier. Compare Tr. (Feamster – Cross) 692:16-20 (emphasis added) with Dkt.
   924 at 42-43; Tr. (Feamster – Cross) 677:13-678:1.
   156
       DISH also argued that the announcement file is deleted before playback so that its accused
   filtering action—the 0x08 Show Metadata announcement file type—no longer exists and cannot
   satisfy the “activating the filtering action assigned to the corresponding navigation object in
   order to filter the portion of the multimedia content defined by the corresponding navigation
   object,” but the court is not granting judgment as a matter of law on that ground.


                                                    40
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44881 Page 43 of 54




   action and a single configuration identifier.157 This violates the single-object approach required by

   the court’s constructions.158

          The evidence ClearPlay presented establishes that the announcement file, 159 which under

   ClearPlay’s theory serves as (1) the object store; (2) the plurality of navigation objects; and

   (3) each particular navigation object, does not read on claim 12 of the ’799 Patent. Dr. Feamster’s

   testimony and opinions regarding the announcement file theory pointed to an alleged filtering

   action, DISH’s Show Metadata element, and an alleged configuration identifier, DISH’s

   model_targeting descriptor.160 Dr. Feamster expressly acknowledged that these two elements are

   not contained in each particular navigation object in DISH’s accused products. 161 And this shared




   157
       Supra IV.C.1, ¶¶ 35, 40-41; see also Trial Ex. 31 at DISH_CP0027627; Tr. (Feamster – Direct)
   663:17-664:24; Tr. (Feamster – Cross) 803:10-23, 804:3-804:13, 804:16-805:3.
   158
       Supra III, ¶ 2 (Dkt. 309 (Claim Construction Order) at 17-18), ¶ 3 (citing Dkt. 653 at 10-14);
   Dkt. 924 (Jury Instructions) at 42-43.
   159
       Supra IV.C.1, ¶ 34 (citing Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 4; Tr. (Feamster
   – Direct) 652:16-25; Tr. (Feamster – Cross) 677:13-678:1; Dkt. 653 at 2, 22-23, 29).
   160
       Supra IV.C.2, ¶ 36 (Dkt. 912 (ClearPlay’s Proposed Findings of Fact) ¶ 16 (citing Tr. (Feamster
   – Direct) 649:7-13, 650:19-652:6); Tr. (Feamster – Direct) 646:24-9; Tr. (Feamster – Cross)
   752:10-15, 802:22-25, 803:10-23, 804:3-805:3, 809:21-810:3; DDX-6 (Demonstrative of Dr.
   Feamster’s Theory for Claim 12 of the ’799 Patent)), ¶ 39 (Dkt. 912 (ClearPlay’s Proposed
   Findings of Fact) ¶ 14 (citing Tr. (Minnick – Direct) 339:18-22; Tr. (Minnick – Cross) 470:17-21;
   Trial Ex. 36-0001, -0002; Tr. (Feamster – Direct) 656:16-659:2; Trial Ex. 31-0025); see also Tr.
   (Feamster – Direct) 662:15-663:12; Feamster Demonstrative Slide 96 (citing Trial Ex. 36 at 1-2).
   Dr. Feamster (1) admitted the end offset is only “used to generate the segment end bookmark” and
   “derive a start position” and (2) identified only the “Show Metadata type field” as “specifying” the
   filtering action. Tr. (Feamster – Direct) 632:9-633:14, 639:7-14; Tr. (Feamster – Cross) 750:22-
   751:3, 755:14-756:3, 795:24-796:8, 801:17-24; Feamster Demonstratives Slide 21; DDX-6
   (Demonstrative of Dr. Feamster’s Theory for Claim 12 of the ’799 Patent).
   161
       Tr. (Feamster – Direct) 648:2-9, 650:19-652:6; Tr. (Feamster – Cross) 803:17-804:13; see also
   Dkt. 949 at ¶¶ 60, 65-72.


                                                    41
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44882 Page 44 of 54




   filtering action and shared configuration identifier theory is espoused in ClearPlay’s proposed

   findings of fact and conclusions of law in its motion for judgment as a matter of law. 162

           ClearPlay’s evidence demonstrates that the alleged navigation object—DISH’s

   announcement file—contains a plurality of alleged navigation objects only if each alleged

   navigation object shares the single alleged filtering action and the single alleged configuration

   identifier. This is contrary to the claim construction that each particular navigation object must

   define its own start position, stop position, and filtering action, and contain its own configuration

   identifier.163 The parties agreed and the court construed navigation object as “plain and ordinary

   meaning (as defined by the terms of the claims themselves).”164 The court also stated, in the context

   of the Asserted Patents, an object “is not an abstract and it is singular. It is not a formless assigning

   or specifying of associated or linked information from multiple sources. It is a structured object. It

   is an object that defines (assigns or specifies) [] specific elements used to filter portions of

   multimedia content during playback. These elements must be contained within the navigation

   object. Otherwise, the navigation object ceases to be an object.”165




   162
       Dkt. 863 at 13; Dkt. 912, ¶¶ 16-17; Dkt. 949 at 25, 31-32 (“the
   announcement file type specifies to skip and is shared among all the navigation objects in that
   announcement file. . . . Similarly, the “configuration identifier” limitation only appears once in the
   announcement files as part of the model_targeting_descriptor – however, it applies equally to and
   is shared by each of the navigation objects within the same file and therefore satisfies the single
   object, file, or data structure construction.”).
   163
       Dkt. 924 at 42-43; see also, e.g., Dkt. 653 at 12 (“The plurality of navigation objects limitation
   has no meaningful purpose in the Asserted Patents if a navigation object does not contain all its
   elements.”).
   164
       Dkt. 309 (Claim Construction Order) at 5, 18.
   165
       Dkt. 653 at 11-12 (emphasis in original).


                                                      42
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44883 Page 45 of 54




           “The plurality of navigation objects limitation has no meaningful purpose in the Asserted

   Patents if a navigation object does not contain all its elements. If a navigation object only assigns

   or specifies elements from various sources [] to filter multimedia content, a single navigation

   object would also be a plurality of navigation objects,” 166 which is precisely ClearPlay’s theory

   regarding the announcement file.167 The “elements that a navigation object ‘defines’ [] are

   contained within the same object, file, or data structure (that being the navigation object).” 168

   Therefore, as the jury was instructed, in all the Asserted Claims, the start, stop, and filter elements

   that comprise the navigation object must be contained within the same object, file, or data

   structure.169

           And for claim 12 of the ’799 Patent, the configuration identifier element must be contained

   within the navigation object.170 “Claim 12 of the ’799 Patent . . . do[es] not expressly identify what

   is ‘assigning’ a configuration identifier to the decoder. However, the language identifies ‘the

   configuration identifier of the particular navigation object.’ The term ‘of’ has an ordinary and

   customary meaning that expresses a relationship between a part and a whole. For claim 12 of the

   ’799 Patent . . ., the part is a configuration identifier and the whole is the navigation object.

   Therefore, claim 12 of the ’799 Patent . . . require[s] the configuration identifier to be contained




   166
       Dkt. 653 at 12.
   167
       See, e.g., Dkt. 863 at 13; Dkt. 949 at ¶¶ 60, 65-72.
   168
       Dkt. 653 at 10.
   169
       Dkt. 924 at 42-43; see also Dkt. 653 at 11.
   170
       Dkt. 924 at 43; Dkt. 653 at 22; see also Trial Ex. 1 (’970 Patent) 11:63-12:10, 12:30-32 and
   13:3-6 (discussing the contents of a navigation object including configuration identifier 329c),
   14:22-36 (discussing retrieving “the next navigation object” if a configuration identifier does not
   match), FIGs. 3A-3C, 14:37-43 (discussing FIG. 4A), 5A.


                                                     43
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44884 Page 46 of 54




   within [each particular] navigation object.” 171 ClearPlay’s theory, in contrast, pointed to an alleged

   configuration identifier shared by multiple navigation objects and not contained within any of

   them.

           Therefore, ClearPlay failed to present legally sufficient evidence that DISH’s accused

   products literally infringe claim 12 of the ’799 Patent.

           D.     ClearPlay failed to show legally sufficient evidence of the “plurality of
                  navigation objects” required by Claim 12 of the ’799 Patent under the
                  doctrine of equivalents

           ClearPlay also failed to present evidence of the alternative theory of infringement under

   the doctrine of equivalents for claim 12 of the ’799 Patent.

                  1.      Dr. Feamster did not offer particularized testimony under either of
                          the function-way-result or the insubstantial difference tests

           Infringement of claim 12 of the ’799 Patent under the doctrine of equivalents turns first on

   whether Dr. Feamster offered “particularized testimony and linking argument” for each prong of

   the function-way-result test, or the insubstantial difference test, 172 for the navigation objects’


   171
       Dkt. 653 at 21-22. That is also consistent with the specification. See Trial Ex. 4 (’799 Patent)
   14:50-51, 12:6-16, FIGS. 3A, 3B, 3C.
   172
       See, e.g., Festo Corp. v. Shoketsu Kinzoku Kogyo Kabushiki Co., Ltd., 493 F.3d 1368, 1377
   (Fed. Cir. 2007); Lear Siegler, Inc. v. Sealy Mattress Co. of Mich., Inc., 873 F.2d 1422, 1425-26
   (Fed. Cir. 1989); see also Augme Techs., Inc. v. Yahoo! Inc., 755 F.3d 1326, 1336 (Fed. Cir. 2014)
   (“To survive summary judgment of noninfringement under the doctrine of equivalents, Augme
   had to present evidence of equivalence under each prong of the function-way-result test.”) (citing
   Perkin–Elmer Corp. v. Westinghouse Elec. Corp., 822 F.2d 1528, 1532 n.6 (Fed. Cir. 1987)); Tex.
   Instruments Inc. v. Cypress Semiconductor Corp., 90 F.3d 1558, 1567 (Fed. Cir. 1996) (patentee
   must provide “particularized testimony and linking arguments as to the ‘insubstantiality of the
   differences’ between the claimed invention and the accused device or process . . . on a limitation-
   by-limitation basis.”). “To find infringement under the doctrine of equivalents, any differences
   between the claimed invention and the accused product must be insubstantial.” VirnetX, Inc. v.
   Cisco Sys., Inc., 767 F.3d 1308, 1322 (Fed. Cir. 2014) (citing Graver Tank & Mfg. Co. v. Linde
   Air Prods. Co., 339 U.S. 605, 608 (1950)). For the function-way-result test, courts consider



                                                     44
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44885 Page 47 of 54




   shared configuration identifier and filtering action limitations. He failed to do so. The following

   excerpts are key to understanding the inadequacy of Dr. Feamster’s testimony:

         Q:      I’m going to ask you some questions about the 0x08 announcement file that
                 relates to this issue of -- it’s called doctrine of equivalents. So bear with me.
                 You believe that -- if the jury were to find that there is not literal infringement
                 as it relates to the 0x08 file type being shared or assigned to each of the set of
                 start and stop positions, then do you have an opinion whether this arrangement
                 is substantially different from the navigation object limitation of the
                 ’799 Patent?
         A:      It’s not substantially different. 173


         Q:      You’ve described for us how the -- well, let’s move on. Can you tell me whether
                 the 0x08 designation is -- whether it’s substantially similar or not?
         A:      I would say that it is not substantially different. I’d be happy to explain a little
                 bit more about why I think it achieves the same function in substantially the
                 same way, to achieve basically the same results. 174


         Q:      I’m struggling getting the right question out so I appreciate that.
         A:      Remember, we talked about the object store, the object store containing a
                 plurality of navigation objects. And plurality meaning more than one. And
                 remember that the navigation object in this case has to have a start position, a
                 stop position, and a filtering action. So I think that the question at issue about
                 literal versus the doctrine of equivalents is whether -- there’s only one 0x08
                 type on the file. Right? The 0x08 shows up once, but hang on, the file has --
                 it’s supposed to have a plurality of these navigation objects. So the question I
                 think being asked is, well, it only shows up once. There’s only one -- you’ve
                 said 0x08 is a filtering action, but it’s only there once, so how could we have a
                 plurality of navigation objects? So I think we’ve talked about how that occurs.
                 But if that is the argument, then the question is: Well, do you need to have it
                 like every single time for every single navigation object in the announcement
                 file or -- but it’s there only once. And what I’m asserting is that you don’t need
                 it there every single time. Like anyone who is basically writing code in the


   whether the accused product or process performs substantially the same function, in substantially
   the same way, to achieve substantially the same result as each element of each asserted claim. Id.
   For the insubstantial differences test, courts look at whether the differences between the accused
   product and the claimed invention are insubstantial. Id.
   173
       Tr. (Feamster – Direct) 649:4-13.
   174
       Tr. (Feamster – Direct) 650:19-25.


                                                     45
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44886 Page 48 of 54




                   same way would recognize that to be an inefficient and pretty bad way of
                   writing the code. So putting it there once basically is achieving the same
                   function in the same way, to achieve the same result, as just repeating the 0x08
                   for every single navigation object in the file.175


            Q:     Just one moment. Back to these questions, I don’t do well, but we’ll see if I get
                   through it. If the jury were to find there’s not literal infringement because the
                   model targeting descriptor in the AutoHop system is shared or assigned to each
                   of the sets of start and stop positions and navigation objects in the
                   announcement file, then do you have an opinion on whether this arrangement -
                   - whether or not this arrangement is substantially different from the navigation
                   object limitation in the -- or from the configuration identifier limitation in the
                   ’799 Patent?
            A:     I do have an opinion. My opinion is that it’s not substantially different. And
                   my opinion is based on the same -- the same logic, same argument, that we
                   used for the 0x08 announcement files. So remember in that case the question
                   was, well, 0x08 only appears once and the file has this plurality of navigation
                   objects. Doesn’t it have to appear for every pair of start and end offsets? And
                   remember I talked us through why my opinion was that it didn’t need to do that
                   to achieve the same function in the same way, to achieve the same results,
                   which is doctrine of equivalents. It’s the same argument here, just like there’s
                   only one 0x08, but you could achieve the same thing with one versus one for
                   each pair. There’s only one configuration identifier in the announcement file.
                   There’s only one model targeting descriptor. But we know you’re sending it to
                   the -- you’re sending it to one set-top box. The set-top box that’s received it,
                   there’s only one of them that’s processing it at that time, it would be silly to
                   check every pair of segment bookmarks to see, oh, does this one apply to me?
                   Does this one apply to me? No, that would just be a ridiculous way to write
                   your code. Like the better way to write it is to check it once, and then we know
                   either all these apply or each and every one of them applies or none of them
                   apply.
            Q:     Okay. In your answer you said ‘segment bookmarks’ were –
            A:     I’m sorry.
            Q:     -- for ’799, referring to the announcement file navigation objects?
            A:     If I said that, I mean start and end offset pair. 176


            Q:     And you explained to the jury how it would be ridiculous for someone to write
                   code in which there was a separate configuration identifier in every navigation
                   object; right?

   175
         Tr. (Feamster – Direct) 651:3-652:6.
   176
         Tr. (Feamster – Direct) 663:15-665:4.


                                                      46
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44887 Page 49 of 54




         A:      I described a particular implementation there. I -- I was describing the
                 announcement file. Okay. And as we talked about in that case, I matched the
                 claim of configuration identifier to model target descriptor. And there’s only
                 one of those in the announcement file, which I think we all agree with. And I
                 said it -- I don’t know if I used the word “ridiculous,” but something to that
                 effect, like it wouldn’t make any sense at all to repeat that value multiple times
                 throughout the announcement file. And that it made absolute perfect sense to
                 how I would implement it to have it only once in that file. 177

          Dr. Feamster did not provide legally sufficient testimony as to infringement of claim 12 of

   the ’799 Patent under the doctrine of equivalents. Dr. Feamster’s testimony above was conclusory,

   not particularized, and did not link to the function, way, and result of each limitation, or explain

   how the components are not substantially different from the claim language. 178 Additionally,

   whether something is “inefficient” 179 or “a ridiculous way” of writing code180 is not the relevant

   inquiry. The relevant inquiry is what the claim limitations require, and whether the accused

   products’ features read on those limitations by performing the same function, in the same way, to

   achieve the same result, or are insubstantially different. 181 Dr. Feamster’s testimony does not come

   close to being legally sufficient particularized testimony for the relevant inquiry. In fact, he

   established substantial differences. 182 By testifying that including the filtering actions and


   177
       Tr. (Feamster – Cross) 745:7-20.
   178
       See, e.g., Festo, 493 F.3d at 1377; Lear Siegler, 873 F.2d at 1425-26; Augme, 755 F.3d at 1336;
   Tex. Instruments, 90 F.3d at 1567.
   179
       Tr. (Feamster – Direct) 650:19-652:6.
   180
       See Tr. (Feamster – Direct) 663:15-664:24; Tr. (Feamster – Cross) 745:7-20.
   181
       See, e.g., Festo, 493 F.3d at 1377; Lear Siegler, 873 F.2d at 1425-26; Augme, 755 F.3d at 1336;
   Tex. Instruments, 90 F.3d at 1567.
   182
       Supra IV.C.2, ¶¶ 38, 43; see Amgen, 923 F.3d at 1029 (finding no infringement “under the
   doctrine of equivalents because [accused infringer’s] one-step, one-solution purification process
   works in a substantially different way from the claimed three-step, three-solution process”); Bid
   for Position, LLC v. AOL, LLC, 601 F.3d 1311, 1319 (Fed. Cir. 2010) (finding difference in the
   way “is sufficiently fundamental” that no infringement under DOE); Perkin-Elmer, 822 F.2d at



                                                    47
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44888 Page 50 of 54




   configuration identifiers within each navigation object, as is literally claimed, would be so

   inefficient as to be ridiculous, Dr. Feamster “conceded that [DISH’s] products differed from the

   patented invention.”183 In light of that concession, the question is whether Dr. Feamster “presented

   evidence that this conceded advantage is an ‘insubstantial difference.’” 184 Dr. Feamster’s

   testimony was conclusory185 and legally insufficient to prove DISH’s implementation was

   insubstantially different from the claim language. 186



   1532 n.6 (“That a claimed invention and an accused device may perform substantially the same
   function and may achieve the same result will not make the latter an infringement under the
   doctrine of equivalents where it performs the function and achieves the result in a substantially
   different way.”) (emphasis added); Sealed Air Corp. v. U. S. Int’l Trade Comm’n, 645 F.2d 976,
   984 (C.C.P.A. 1981) (finding no equivalents when accused process did not operate in substantially
   same way); B-K Lighting, Inc. v. Vision3 Lighting, 930 F. Supp. 2d 1102, 1141-42 (C.D. Cal. 2013)
   (“The Federal Circuit has held that a patent that ‘claims a precise arrangement of structural
   elements that cooperate in a particular way to achieve a certain result’ is not infringed by an
   accused product that achieves the same result ‘by a different arrangement of elements.’”) (quoting
   Sage Prods., Inc. v. Devon Indus., Inc., 126 F.3d 1420, 1423-25 (Fed. Cir. 1997)).
   183
       Plastic Omnium Advanced Innovation & Rsch. v. Donghee Am., Inc., 943 F.3d 929, 938 (Fed.
   Cir. 2019).
   184
       Id. (citations omitted).
   185
        Tr. (Feamster – Direct) 649:7-13 (“It’s not substantially different”), 650:20-22 (similar),
   663:17-664:3 (similar).
   186
       See, e.g., Stumbo v. Eastman Outdoors, Inc., 508 F.3d 1358, 1364-65 (Fed. Cir. 2007) (finding
   expert declaration on DOE conclusory when he did not explain either operation or how the
   differences were insubstantial); Tex. Instruments, 90 F.3d at 1567-68 (affirming JMOL because
   the plaintiff “failed to present sufficient evidence to support a finding of infringement under the
   doctrine of equivalents,” including an expert’s testimony that was not particularized and did “not
   support a finding that the differences were ‘insubstantial’”); Am. Calcar, Inc. v. Am. Honda Motor
   Co., Inc., No. 06CV2433 DMS (CAB), 2007 WL 7757969, at *6 (S.D. Cal. July 10, 2007), aff’d,
   651 F.3d 1318 (Fed. Cir. 2011) (granting summary judgment when an expert’s “statements are
   conclusory and generalized, and they fail to provide particularized testimony or evidence going to
   a material fact”); see also N5 Techs. LLC v. Capital One N.A., 56 F. Supp. 3d 755, 763–64 (E.D.
   Va. 2014) (granting summary judgment because “the differences between two systems are
   insubstantial requires particularized testimony and linking argument explaining how and why the
   differences are insubstantial; conclusory statements or evidence submitted for other purposes will
   not suffice.”) (second emphasis added).


                                                    48
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44889 Page 51 of 54




          As a point of comparison to what particularized testimony regarding the doctrine of

   equivalents should be, one need only look to Dr. Goldberg’s doctrine of equivalents testimony and

   opinions on March 7 and 8, transcript pages 1589 to 1598. 187 This reference to Dr. Goldberg does

   not mean that this order depends in any way on the substance of Dr. Goldberg’s testimony. The

   court is not relying on his testimony. Rather, this reference highlights the insufficiency and

   conclusory nature of Dr. Feamster’s testimony on equivalents by comparison to Dr. Goldberg’s

   testimony.

          Because Dr. Feamster failed to offer particularized testimony of the function-way-result

   test, or the insubstantial difference test, for the navigation objects’ shared configuration identifier

   and filtering action limitations, ClearPlay’s evidence of infringement of claim 12 of the ’799 Patent

   under the doctrine of equivalents is legally insufficient.




   187
       Tr. (Goldberg – Direct) 1589:2-1598:14; compare Tr. (Feamster – Direct) 650:20-25 (“I think
   it achieves the same function in substantially the same way, to achieve basically the same results.”),
   652:1-6 (similar), 664:8-24 (similar) with Tr. (Goldberg – Direct) 1592:2-21 (explaining the
   “function for the claimed filtering action” differs from the function of the “Type 8 indicator”),
   1592:22-1593:22 (explaining the way the claimed filtering action is used requires “a separate
   filtering action for each navigation object,” which differs from the way DISH’s AutoHop system
   uses the information in the announcement file), 1593:23-1594:7 (explaining that the claimed
   filtering action supports filtering that is “just not possible in the DISH system”) 1594:22-1595:11
   (explaining the function of the claimed configuration identifier), 1595:12-20 (explaining the way
   the claimed configuration identifier is used by putting “that configuration identifier in the
   navigation object for each portion to be filtered”), 1595:21-1596:6 (explaining the result of the
   claimed configuration identifier implementation supports “further customization based on the
   different kinds of players you can have”), 1596:7-1598:14 (explaining the how the function-way-
   result of the claimed configuration identifier differ from the model targeting descriptor used in
   DISH’s announcement files).


                                                     49
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44890 Page 52 of 54




                  2.      ClearPlay’s evidence for the “navigation object” limitation is legally
                          insufficient for infringement under the doctrine of equivalents

          Additionally, ClearPlay’s evidence of infringement of claim 12 of the ’799 Patent under

   the doctrine of equivalents is legally insufficient due to structural variants. Legally, the multi-

   object structure cannot be an equivalent of the single-object structure. 188 “The concept of

   equivalency cannot embrace a structure that is specifically excluded from the scope of the

   claims.”189 “While [the Federal Circuit has] recognized that a literal failure to meet a claim

   limitation does not necessarily constitute a specific exclusion, [it has] found specific exclusion

   where the patentee seeks to encompass [by equivalents] a structural feature that is the opposite of,

   or inconsistent with, the recited limitation.”190 Because the ClearPlay patents made clear that they

   claim only a single structure navigation object, 191 a multi-object equivalent cannot possess only




   188
       B-K Lighting, 930 F. Supp. 2d at 1141-42 (“The Federal Circuit has held that a patent that
   ‘claims a precise arrangement of structural elements that cooperate in a particular way to achieve
   a certain result’ is not infringed by an accused product that achieves the same result ‘by a different
   arrangement of elements.’”) (quoting Sage Prods., 126 F.3d at 1423-25); see also Perkin-Elmer,
   822 F.2d at 1532 n.6 (“That a claimed invention and an accused device may perform substantially
   the same function and may achieve the same result will not make the latter an infringement under
   the doctrine of equivalents where it performs the function and achieves the result in a substantially
   different way.”) (emphasis added). Dkt 653 at 11 (“The multi-object approach is precluded by this
   court’s claim construction and the ordinary and customary meaning of the Asserted Patents.”).
   189
       Augme, 755 F.3d at 1335 (concluding the court’s construction precluded a finding of equivalence)
   (quoting Dolly, Inc. v. Spalding & Evenflo Cos., Inc., 16 F.3d 394, 400 (Fed. Cir. 1994)) (internal
   quotations and citations omitted).
   190
       Augme, 755 F.3d at 1335 (citing to SciMed Life Sys., Inc. v. Advanced Cardiovascular Sys.,
   Inc., 242 F.3d 1337, 1346-47 (Fed. Cir. 2001); Ethicon Endo-Surgery, Inc. v. U.S. Surgical Corp.,
   149 F.3d 1309, 1317 (Fed. Cir. 1998)).
   191
       See, e.g., Trial Ex. 1 (’970 Patent) Abstract (“Each navigation object defines a start position, a
   stop position, and an filtering action to perform on the portion of the multimedia content that begins
   at the start position and ends at the stop position.”); see also id. at 4:49-52, 4:62-67, 11:63-12:10,
   FIGs. 3A-3C, FIGs. 4A-4B, FIGs. 5A-B.


                                                    50
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44891 Page 53 of 54




   insubstantial differences.192 For this other reason, ClearPlay’s shared filtering action and

   configuration identifier theory fail under the doctrine of equivalents as a matter of law.

                                                ORDER

          The court finds that ClearPlay’s claims for infringement, induced infringement, and willful

   infringement fail as a matter of law because the accused products do not practice the methods of

   the Asserted Claims of the ’970 and ’799 Patents and do not literally, or under the doctrine of

   equivalents, infringe the Asserted Claims. The court therefore GRANTS DISH’s motion for

   judgment as a matter of law and will enter final judgment accordingly. 193 DISH may seek costs as

   the prevailing party pursuant to Federal Rule of Civil Procedure 54(d)(1).

          In light of this ruling of noninfringement pursuant to Rule 50(a), the other issues raised in

   DISH’s motions for judgment as a matter of law, including DISH’s [Dkt. 880] Motion for

   Judgment as a Matter of Law regarding damages (and its oral motions made at the close of all

   evidence), are denied as MOOT.194 ClearPlay’s motion for judgment as a matter of law on validity

   made at the close of evidence is also denied as MOOT. 195

          This resolution of DISH’s motion and the judgment of noninfringement may also render

   moot forthcoming motions by the parties on other issues, such as issues that may be raised under



   192
       See id.
   193
       Dkt. 862.
   194
        Dkt. 880; Dkt. 954 (Order finding Dkt. 880 Moot); Tr. (Lynn) 1912:6-1913:13; Cave
   Consulting Grp., LLC v. OptumInsight, Inc., 725 F. App’x 988, 992 (Fed. Cir. 2018); Cardinal
   Chem. Co. v. Morton Int’l Inc., 508 U.S. 83, 99-102 (1993); see also, e.g., SSI Techs., LLC v.
   Dongguan Zhengyang Elec. Mechanical Ltd., 59 F.4th 1328, 1338-39 (Fed. Cir. 2023);
   AstraZeneca LP v. Breath Ltd., 542 F. App’x 971, 982 (Fed. Cir. 2013).
   195
       Tr. (Jordan) 1911:23-1912:4; Cave Consulting, 725 F. App’x at 992; Cardinal Chem., 508 U.S.
   at 99-102; SSI Techs., 59 F.4th at 1338-39; AstraZeneca, 542 F. App’x at 982.


                                                    51
Case 2:14-cv-00191-DN-CMR Document 962-1 Filed 04/14/23 PageID.44892 Page 54 of 54




   Rule 50(b), 52, and 59, though the Court takes no position at this time on the necessity of filing

   such motions. However, the court will take up such motions after entry of final judgment and

   determine whether, on a motion-by-motion basis, any conditional ruling is appropriate.

          The clerk will enter final judgment accordingly.



                  Signed April ____, 2023

                                                BY THE COURT




                                                David Nuffer
                                                United States District Judge




                                                  52
